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UNITED STATES OF AMERICA
SECURITIES AND EXCHANGE COMMISSION

 

ATTESTATION

IT IS HEREBY ATTESTED THAT:

The attached Form FWP was received in this Commission on 7/31/2006, under the
name of American Home Mortgage Assets Trust 2006-3, File No. 333-131641-03,
pursuant to the relevant Act(s) of the Commission.

This certified document was produced from the files of this Commission on

2/7/2019
Date

It is hereby certified that the Secretary of the U.S. Securities and
Exchange Commission, Washington, DC, which Commission was
created by the Securities Exchange Act of 1934 (15 U.S.C. 78a et
seq.) is official custodian of the records and files of said

Commission and was such official custodian at the time of executing
the above attestation.

For the Commission

at ) Fc

Secretafy

SEC 334 (9-12)

 
Case 1:18-cv-00427-JJM-LDA Document 41-13 Filed 07/15/19 Page 2 of 48 PagelD #: 949
FWP 1 d546584.htm AMERICAN HOME MORTGAGE ASSETS TRUST 2006-3

The following is a free writing prospectus. The information in this free writing prospectus is preliminary and is subject to completion or change.

FREE WRITING PROSPECTUS

American Home Mortgage Assets Trust 2006-3
(Issuing Entity)

 

$[1,682,386,000]
(Approximate)

 

Mortgage Pass-Through Certificates, Series 2006-3

 

 

American Home Mortgage Assets LLC
(Depositor)

American Home Mortgage Servicing, Inc.
(Servicer)

 

 

 

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Lead Underwriter

July 26, 2006

The issuer has filed a registration statement (including a prospectus) with the SEC for the offering to which this free writing prospectus relates. Before you invest, you should read the
prospectus in that registration statement and other documents the issuer has filed with the SEC for more complete information about the issuer and this offering. You may get these documents
for free by visiting EDGAR on the SEC Web site at www.sec.gov. Alternatively, the issuer, any underwriter or any dealer participating in the offering will arrange to send you the prospectus if
you request it by calling Deutsche Bank at 1-800-503-4611. This free writing prospectus is not required to contain all information that is required to be included in the base prospectus and the
prospectus supplement. The information in this free writing prospectus is preliminary and is subject to completion or change. The information in this free writing prospectus, if conveyed
prior to the time of your commitment to purchase, supersedes information contained in any prior similar free writing prospectus relating to these securities. THIS FREE WRITING
PROSPECTUSISNOT AN OFFER TO SELL OR A SOLICITATION OF AN OFFER TO BUY THESE SECURITIES IN ANY STATE WHERE SUCH OFFER, SOLICITATION OR SALE IS
NOT PERMITTED. The information in this free writing prospectus may be based on preliminary assumptions about the pool assets and the structure. Any such assumptions are subject to
change.

 

 
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American Home Mortgage Assets Trust 2006-3
Mortgage Pass-Through Certificates, Series 2006-3

 

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Neither the issuer of the securities nor any of its affiliates prepared, provided, approved or verified any statistical or numerical information presented herein, although
that information may be based in part on loan level data provided by the issuer or its affiliates. Investors are urged to read the base prospectus and the prospectus
supplement and other relevant documents filed or to be filed with the Securities and Exchange Cornmission because they contain important information. Such
documents may be obtained without charge at the Securities and Exchange Commission’s website. Once available, the base prospectus and prospectus supplement
may be obtained without charge by contacting Deutsche Bank at 1-800-503-4611. This communication does not contain all information that is required to be included
in the base prospectus and the prospectus supplement. The information in this communication is preliminary and is subject to completion or change. The information
in this communication supersedes information contained in any prior similar communication relating to these securities. This communication is not an offer to sell ora
solicitation of an offer to buy these securities in any state where such offer, solicitation or sale is not permitted. You should consult your own counsel, accountant,
and other advisors as to the legal, tax, business, financial and related aspects of a purchase of these securities.

The attached information contains certain tables and other statistical analyses (the “Computational Materials”) which have been prepared by DBSI in reliance upon
information furnished by the Seller. Numerous assumptions were used in preparing the Computational Materials which may or may not be reflected herein. As such,
no assurance can be given as to whether the Computational Materials and/or the assumptions upon which they are based reflect present market conditions or future
market performance. These Computational Materials should not be construed as either projections or predictions or as legal, tax, financial or accounting advice. Any
weighted average lives, yields and principal payment periods shown in the Computational Materials are based on prepayment assumptions, and changes in such
prepayment assumptions may dramatically affect such weighted average lives, yields and principal payment periods. In addition, it is possible that prepayments on
the underlying assets will occur at rates slower or faster than the rates shown in the attached Computational Materials. Furthermore, unless otherwise provided, the
Computational Materials assume no losses on the underlying assets and no interest shortfalls. The specific characteristics of the securities may differ from those
shown in the Computational Materials by a permitted variance of +/-10%. The principal amount and designation of any security described in the Computational
Materials are subject to a permitted variance of +/-10% prior to issuance. Neither DBSI nor any of its affiliates makes any representation or warranty as to the actual
rate or timing of payments on any of the underlying assets or the payments or yield on the securities.

THIS INFORMATION IS FURNISHED TO YOU SOLELY BY DBSI AND NOT BY THE ISSUER OF THE SECURITIES OR ANY OF ITS AFFILIATES (OTHER
THAN DBS). DBSI IS ACTING AS UNDERWRITER AND NOT ACTING AS AGENT FOR THE ISSUER IN CONNECTION WITH THE PROPOSED
TRANS ACTION.

 

 
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PRELIMINARY TERM SHEET DATED: July 26, 2006
American Home Mortgage Assets LLC.
Mortgage Pass-Through Trust 2006-3

$[1,682,386,000] (Approximate)
Subject to a variance ofup to 10%
All Terms and Conditions are subject to change

Se tans
To 1% Optional Termination

WAL to Pmt Interest

 

 

 

 

Approximate Legal Final Cal Delay Accrual Expected
Class Size($} Type Maturity (yrs) (days) Basis Pass-Through Rate | Ratings [IW/S]
TAI -457,003.000 Super Senior MTA Floater — | October20ae | 450 4 30/360 | Bloating) Aa AAA
LA-2-1 98,751, MTA Floater October 2046 3.56 24 30/360 Floating) [Aaa/AAA]
bad | sop0000d MTA Ploater October 2046 | 359 | 21 | 30360 Heating!) = =p iAaa/AAAI
LA3 89,251, LIBOR Floater October 2046 3.56 0 ACT/360 Floating) [Aaa/AAA]
ATL DIS6R Super Seniow/MTA Floater October 2046. | 3-6E a 30/360 Floating’© [AaalAAAl
I-A-1-2 145,000, Super Senior/MTA Floater October 2046 3.61 24 30/360 Floating [Aaa/AAA]
TEA 1s008h MPA Floater October 2046 3.61 4 30/360. Floating) [Aaa AAA}
T-A-3-1 60,000,01 MTA Floater October 2046 3.61 24 30/360 Floating) [Aaa/AAA]
A322 | 30168, MLA Floater October 2046. [| 2.8! 24 30/300 FloatneO) [Aaa/AAAT
TL-A-1-1 114,935, Super Senior/LIBOR Floater October 2046 3.52 0 ACT/360 Floating!) [Aaa/AAA]
HLA-12 114,935,000 Super Senion/LIBOR Floater. | October2046 | 382 | 6 ACT/366- | Floating | [Aaa/AAAI
-A-2 95,779, LIBOR Floater October 2046 3.52 0 ACT/360 Floating“!3) [Aaa/AAA]
feast | 6 aggssc0d ——UIBOR Floater | October 2046 f 205 | 6 | Acrise | Foatine (| (Ana/AAA]
U-A-32 13,110, LIBOR Floater October 2046 8.50 0 ACT/360 Floating“!5) [Aaa/AAA}
MI 4B 116 LIBOR Floater October 2046 F852 | ob ACT 360 Floating!) | TAaVAAG]
M-2 11,836, LIBOR Floater October 2046 6.39 0 ACT/360 Floating(!6) [Aa2/AA]
ee | October 2046 631 6 ACTAO Floating (©) TAaAAl
M-4 7,609, LIBOR Floater October 2046 6.22 0 ACT/360 Floating(!6) [AV/AA]
MS =  g45400g = © LIBOR Floater” October 20% | OOS | a ACTB60 | Bloating ©) [AVAG]
M-6 9,300, LIBOR Floater October 2046 5.83 0 ACT/360 Floating(16) [Baal/A]
Ma 9,300, LIBOR Floater © October 2045 | O47 0 ACTI60 | Floating ©) (Baag/BBBH
M-8 5,918,000 LIBOR Floater October 2046 4.60 0 ACT/360 Floating(16) [Baa3]

 

 

 

otal Offered) —_$[1,682,386,000]

 

 

 

 

 

 

 

 

(1) The Structure is preliminary and subject to change.

(2) The pass-through rate on the Class LA-] Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007, One-
year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group I Net WAC Cap Rate. If the Optional Call is not
exercised on the first possible date, the specified margin on the Class I-A-1 Certificates will increase to [2.0] times the current margin.

(3) The pass-through rate on the Class I-A-2-1 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and afier the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group I Net WAC Cap Rate. Ifthe Optional Call
is not exercised on the first possible date, the specified margin on the Class I-A-2-1 Certificates will increase to [2.0] times the current margin.

(4) The pass-through rate on the Class I-A-2-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group I Net WAC Cap Rate. Ifthe Optional Call
is not exercised on the first possible date, the specified margin on the Class I-A-2-2 Certificates will increase to [2.0] times the current margin.

(5) The pass-through rate on the Class L-A-3 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii) the
Group I Net WAC Cap Rate. Ifthe Optional Call is not exercised on the first possible date, the specified margin on the Class I-A-3 Certificates will increase to
[2.0] times the original specified margin.

(6) The pass-through rate on the Class I]-A-1-1 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group If Net WAC Cap Rate. Ifthe Optional Call
is not exercised on the first possible date, the specified margin on the Class I-A-1-1 Certificates will increase to [2.0] times the current margin.

(7) The pass-through rate on the Class I-A-1-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group II Net WAC Cap Rate. Ifthe Optional Call
is not exercised on the first possible date, the specified margin on the Class I-A-1-2 Certificates will increase to [2.0] times the current margin.

(8) The pass-through rate on the Class H-A-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [{ ]% and afier the Distvibution Date tn January, 2007, One-year MTA plus [ ]% and (ii) the Group Lf Net WAC Cap Rate. ff the Optional Call

is not exercised on the first possible date, the specified margin on the Class I-A-2 Certificates will increase to [2.0] times the current margin.

(9) The pass-through rate on the Class I-A-3-1 will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007, One-year
MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group II Net WAC Cap Rate. Ifthe Optional Call is not
exercised on the first possible date, the specified margin on the Class I]-A-3-1 Certificates will increase to [2.0] times the current margin.

(10) The pass-through rate on the Class H-A-3-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group H Net WAC Cap Rate. If the Optional Call
is not exercised on the first possible date, the specified margin on the Class I-A-3-2 Certificates will increase to [2.0] times the current margin.

(11) The pass-through rate on the Class Il]-A-1-1 Certificates will be a floating rate equal to One-month LIBOR plus [ ]% so long as a Class If-A-1-1 Swap
Default has not occurred and is not continuing and ifa Class III-A-1-1 Swap Default has occurred and is continuing, will equal the lesser of (i) One-month

LIBOR plus [ ]% and (ii) the Group Ill Net WAC Cap Rate (equal to the weighted average net mortgage interest rate of the Group III Mortgage Loans). The Class
UI-A-1-I Certificates will have the benefit of the Class I-A-1-1 Swap Agreement as further described below. Ifthe Optional Call is not exercised on the first
possible date, the specified margin on the Class II-A-I-1 Certificates will increase to [2.0] times the current margin.
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(12) The pass-through rate on the Class HI-A-1-2 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii)
the Group III Net WAC Cap Rate. Ifthe Optional Call is not exercised on the first possible date, the specified margin on the Class Il]-A-1-2 Certificates will
increase to [2.0] times the original specified margin.

(13) The pass-through rate on the Class HI-A-2 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii) the
Group II] Net WAC Cap Rate. Ifthe Optional Call is not exercised on the first possible date, the specified margin on the Class HI-A-2 Certificates will increase to
[2.0] times the original specified margin.

(14) The pass-through rate on the Class II-A-3-1 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii)
the Group Il] Net WAC Cap Rate. Ifthe Optional Call is not exercised on the first possible date, the specified margin on the Class Il]-A-3-1 Certificates will
increase to [2.0] times the original specified margin.

(15) The pass-through rate on the Class II-A-3-2 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii)
the Group Ill Net WAC Cap Rate. Ifthe Optional Call is not exercised on the first possible date, the specified margin on the Class III-A-3-2 Certificates will
increase to [2.0] times the original specified margin.

(16) The Pass-Through Rates jor each of the Class M Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and
(ii) the Subordinate Net WAC Cap Rate. If the Optional Call is not exercised on the first possible date, the specified margins on the Class M Certificates will
increase to [1.5] times the original specified margins.

 

 
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Certificates:

A ae

M The Class I-A-1, Class -A-2-1, Class I-A-2-2 and Class J-A-3 (the “Group I Senior Certificates”), the Class I-A-1-1, Class II-
A-1-2, Class I-A-2, Class I-A-3-1 and Class [I-A-3-2 Certificates (the “Group II Senior Certificates”), the Class II-A-!-1,
Class I-A-1-2, Class I-A-2, Class I-A-3-1 and Class Il-A-3-2 (the “Group III Senior Certificates”). The trust will also
issue the Class R Certificates (together with the Group I Senior Certificates, the Group II Senior Certificates and the Group
Ill Senior Certificates, the “Senior Certificates”) and the Class M-1, Class M-2, Class M-3, Class M4, Class M-5, Class M-
6, Class M-7 and Class M-8 Certificates (the “Subordinate Certificates”), the Class C Certificates and the Class P
Certificates. Distributions of interest and/or principal on the Certificates (other than the Class III-A-1-1 Certificates) will be
nade from payments received in connection with the Mortgage Loans and, in the case of the Group I Senior Certificates,
solely fromthe Group I Mortgage Loans, in the case of the Group II Senior Certificates, solely fromthe Group TI Mortgage
Loans and, in the case of the Group Ill Senior Certificates (other than the Class INI-A-1-1 Certificates), solely from the
Group II Mortgage Loans. Distributions of interest and principal with respect to the Class HI-A-1-1 Certificates will be
made from payments received on the Group If Mortgage Loans and from certain payments that may be made pursuant to
the Class Ifl-A-1-1 Swap Agreement.

  

 

 

ILIBOR Certificates:

™@ The Class I-A-3, Class Il-A-1-1, Class M-A-1-2, Class [I-A~-2, Class I-A-3-1 and Class III-A-3-2 (together the “Senior

LIBOR Certificates”). The trust will the Class M-], Class M-2, Class M-3, Class M-4, Class M-5, Class M-6, Class M-7 and
Class M-8 Certificates (the “Subordinate LIBOR Certificates”, and together with the Senior LIBOR Certificates the “LIBOR
Certificates”),

 

 

Offered Certificates:

The Group I Senior Certificates, Group II Senior Certificates, the Group Hl Senior Certificates and the Subordinate

Certificates (together the “Offered Certificates”).

 

 

iNon-Offered Certificates: @ Class C, Class P and Class R Certificates.

 

 

Pricing Speed:

@ 25% CPR

 

 

(Depositor:

@ American Home Mortgage Assets LLC

 

 

Master Servicer:

H Wells Fargo Bank, National Association

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Originator: @ Anerican Home Mortgage Investment Corp. (or an affiliate thereof)
Servicer: @ American Home Mortgage Servicing, Inc,
(Trustee: @ Deutsche Bank National Trust Company
Cut-off Date: @ July 1, 2006
Closing Date: @ On or around July 28, 2006
pester Settlement Date: B LIBOR based Certificates: on or around July 28, 2006
MTA based Certificates: on or around July 31, 2006
Legal Structure: @ REMIC
Optional Call: @ 1% Cleanup Call
Dis tribution Dates: ® 25th of each month, or next business day, commencing in August 2006
Registration: ® The Offered Certificates will be made available in book-entry form through DTC.
Federal Tax Treatment:

@ Jc is anticipated that a portion of the Class A Certificates and Subordinate Certificates will be treated as REMIC regular

 

interests for federal taxincome purposes. The Class A Certificates and Subordinate Certificates will also be entitled to
certain non-REMIC payirents.

 

 

 

 
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Transaction Overview (Cont)

 

 

JERISA Fligibility:

 

a The Class I-A-I, Class II-A-1-1, Class Il-A-1-2, Class IM-A-1-1 and Class Ill-A-1-2 Certificates are expected to be
ERISA eligible. Prior to the termination of the Class III-A-1-1 Swap Agreement and Swap Account, plans may
invest in the Class IN-A-1-1 Certificates if they meet the requirements of the investor-based exemption.
Prospective investors should review with their legal advisors whether the purchase and holding of the Offered
Certificates could give rise to a transaction prohibited or not otherwise permissible under ERISA, the Intemal
Revenue Code or other similar laws.

 

 

Advances:

The Servicer is obligated to make cash advances with respect to delinquent payments of principal and interest on the
mortgage loans to the extent the Servicer believes that the cash advances can be repaid from future payments on the
mortgage loans. These cash advances are only intended to maintain a regular flow of scheduled interest and principal
payments on the certificates and are not intended to guarantee or insure against losses.

 

 

(Compensating Interest:

On each Distribution Date, the Servicer is required to cover certain interest shortfalls as a result of certain prepayments,
by reducing its servicing compensation, as more fully described in the prospectus supplement. The reduction in the
Servicer’s servicing compensation for any Distribution Date will be limited to an amount equal to one month’s interest on
the amount of principal so prepaid for the month of prepayment at the applicable Net WAC Cap Rate; provided, however,
that the Servicer’s aggregate obligations for any month shall be limited to the total amount of servicing fees actually
received with respect to the Mortgage Loans by the Servicer during such month.

 

 

Mnterest Accrual Period:

The Interest Accrual Period for the Class I-A-1, Class -A-2-!, Class -A-2-2, Class II-A-1-1, Class -A-1-2 and Class TI-A-
2, Class II-A-3-1, Class U-A-3-2 Certificates for any Distribution Date will be the calendar month before the Distribution
Date (on a 30/360 basis). The Interest Accrual Period for the Class I-A-3, Class IH-A-1-1, Class HI-A-1-2, Class WI-A-2,
Class W-A-3-1, Class I-A-3-2 and Subordinate Certificates for any Distribution Date will be the period commencing on
the Distribution Date in the month prior to the month in which that Distribution Date occurs (or the Closing Date, in the

case of the first Distribution Date) and ending on the day immediately prior to that Distribution Date (on an actual/360
basis).

 

 

Group I Net WAC Cap Rate:

The weighted average of the mortgage rates on the Group I Mortgage Loans as of the beginning of the related mortgage
due period minus servicing fees and any lender paid mortgage insurance fees for such distribution date. The Group I Net
WAC Cap Rate is subject to an adjustment based on the actual number of days that have elapsed in the Interest Accrual
Period.

 

 

(Group II Net WAC Cap Rate:

The weighted average of the mortgage rates on the Group II Mortgage Loans as of the beginning of the related mortgage
due period minus servicing fees and any lender paid mortgage insurance fees for such distribution date. The Group I Net

WAC Cap Rate is subject to an adjustment based on the actual number of days that have elapsed in the Interest Accrual
Period.

 

 

Group II Net WAC Cap Rate:

The weighted average of the mortgage rates on the Group II] Mortgage Loans as of the beginning of the related mortgage
due period minus servicing fees and any lender paid mortgage insurance fees for such distribution date. The Group I Net
WAC Cap Rate is subject to an adjustment based on the actual number of days that have elapsed in the Interest Accrual
Period.

 

 

Subordinate Net WAC Cap
Rate:

For any Distribution Date, the weighted average of the Group 1 Net WAC Cap Rate, the Group II Net WAC Cap Rate, and
the Group II Net WAC Cap Rate, weighted based on the Group Subordinate Amount for each Loan Group.

 

 

Group Subordinate Amount:

For any Distribution Date and any Loan Group, the excess of () aggregate of the stated principal balances of the mortgage
loans in such Loan Group as of the first day of the related Due Period over (ii) the aggregate of the Certificate Principal
Balances of the related Class A Certificates (and in the case of Loan Group IIL, any Class III-A-1-1 Deferred Interest
Amount (as defined herein)) before taking into account any distribution on such Distribution date.

 

 

 

 

 

 

 
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“Transaction Overview (Cont,

 

 

Collateral: a The mortgage loans (the “Mortgage Loans”) are 30 and 40 year adjustable rate loans secured by first liens on one-to|
four-family residential properties. The mortgage rates for the Mortgage Loans are generally fixed for an initial period
from one, three, sixor twelve months after origination. Substantially all of the mortgage loans are negative amortization!
loans with rates that adjust monthly and scheduled payments that adjust annually. At the end of the initial fixed-rate
period, if any, each mortgage rate will adjust monthly based on the Mortgage Index plus the related margin. The
“Mortgage Index” for the mortgage rates for the Mortgage Loans is the twelve-month average monthly yield on U.S.
Treasury Securities adjusted to a constant maturity of one-year, as published by the Federal Reserve Board in the}
Federal Reserve Statistical Release “Selected Interest Rates (H.15)” (‘One-year MTA”).

a For each of the One-year MTA indexed Mortgage Loans, the related borrower must make a mininum monthly paymeng
which is subject to adjustment ona date specified in the mortgage note and annually on the same date thereafter,
subject generally to the conditions that (i) the amount of the minimum monthly payment will not increase or decrease
by an amount that is more than 7.50% of the last minioum monthly payment, (ii) as of the fifth anniversary of the first
due date and on the same day every five years thereafter as well as the final payment adjustment date, the mininuny
monthly payment will be recast, without regard to the limitation in clause (i) above, in order to amortize fully the then!
unpaid mortgage joan principal balance over the remaining term to maturity, and (iii) if the unpaid mortgage loan]
principal balance exceeds 110% or 125% of the original principal balance due to Deferred Interest (the “Negative
Amortization Limit”), the minimum monthly payment will be recast, without regard to the limitation in clause (i), in ordeq
to amortize fully the then unpaid principal balance over the remaining termto maturity.

a On each payment date after the imitial fixed rate period, if any, the servicer will present to each borrower three payment
options in addition to the minimum monthly payment described above. Those payment options will include () interest
only, (i) an amount that will fully amortize the mortgage loan over the remaining term of the mortgage loan at the
current rate, and (iii) an amount that will fully amortize the mortgage loan overa period of 15 years from the first
payment date at the current mortgage rate. Those payment options will only be available to the borrower if they are
higher than the minimum monthly payment described above.

a Negative amortization on the One-year MTA Mortgage Loans will occur when the monthly payment made by the
borrower is less than interest accrued at the current mortgage rate on the unpaid principal balance of the Mortgage
Loan (such deficiency, “Deferred Interest”). The amount of Deferred Interest is added to the unpaid principal balance
of the Mortgage Loan.

a As of the Cut-off Date, the aggregate principal balance of the Mortgage Loans is expected to be $1,675,000,000, subject
to a 10% variance. Approximately 24.36% of the Mortgage Loans do not have a prepayment penalty period.
Approximately 26.66% of the Mortgage Loans have a prepayment penalty period of 1 year, approximately 11.28% of the
Mortgage Loans have a prepayment penalty period of 2 years and approximately 37.70% of the Mortgage Loans have a
prepayment penalty period of 3 years. The Group I Mortgage Loans will consist of Mortgage Loans with prepayment
penalty periods of less than 3 years, the Group II Mortgage Loans will consist of Mortgage Loans with prepayment
penalty periods of 3 years and the Group Ii Mortgage Loans will consist of Mortgage Loans with no prepayment
penalties.

 

 

Credit Enhancement: a Credit Enhancement for the Offered Certificates will consist of the following:
b Excess Interest,

2) Overcollateralization (‘OC’); and

3) Subordination

 

 

 

 

 

 
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Cashflow Description: a Distributions on the Senior Certificates and the Subordinate Certificates will be made on the 25th day of each month (oy
next business day). The payments to the Senior Certificates and the Subordinate Certificates, to the extent of available
funds from the related Mortgage Loans and, in the case of the Class III-A-1-1 Certificates, net swap payments, if any,
fromthe Class I0-A-1-1 Swap Agreement, as applicable, will be made according to the following priority:

Group I Available Funds

L To pay interest, pro rata, to the Class -A-1, Class T-A-2-1, Class I-A-2-2 and Class I-A-3 Certificates, based on (i
the certificate principal balance of each such class and (ji) the respective Pass-Through Rate of each such class|
including any accrued unpaid interest due from any prior Distribution Date as reduced by certain interest shortfalls
and any Net Deferred Interest allocable to each such class;

2. To pay interest, sequentially, to the Subordinate Certificates, based on (i) the related Group I Portion of the
certificate principal balance of each such class and (ii) the respective Pass-Through Rate of each such class as
reduced by certain interest shortfalls and any Net Deferred Interest allocable to each such class;

3. (A) For each Distribution Date prior to the Stepdown Date or on which a Trigger Event is in effect in an amount
up to the Group J Principal Distribution Amount for such Distribution Date, sequentially:

i concurrently, to the Class J-A-1, Class I-A-2-1, Class -A-2-2 and Class I-A-3
Certificates, pro rata on the basis of their respective certificate principal balance
of each such class

it. sequentially, to the Subordinate Certificates, until reduced to zero.
(A) For each Distribution Date on or after the Stepdown Date and so long as there is no Trigger Event in effect.
sequentially:
L Inan amount up to the related Senior Principal Distribution Amount,

concurrently, to the Class LA-1, Class 1-A-2-1, Class FA-2-2 and Class I-A-3
Certificates, pro rata on the basis of their respective certificate principal balance
of each such class.

il. Sequentially, to the Subordinate Certificates, in each case each class sha
receive such class’ allocable share of the related Subordinated Principal
Distribution Amount, until reduced to zero;

 

 

 

 

 

 
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See ee

 

 

Cas hflow Description: Group If Available Funds

1. To pay interest, pro rata, to the Class II-A-1-1, Class I-A-1-2, Class fl-A~2, Class If-A-3-1 and Class I-A-3-2 Certificates
based on (i) the certificate principal balance of each such class and (ii) the respective Pass-Through Rate of each such|
class including any accrued unpaid interest due from any prior Distribution Date as reduced by certain interesy
shortfalls and any Net Deferred Interest allocable to each such class;

2. To pay interest, sequentially, to the Subordinate Certificates, based on (i) the related Group I Portion of the certificate
principal balance of each such class and (ii) the respective Pass-Through Rate of each such class as reduced by certain]
interest shortfalls and any Net Deferred Interest allocable to each such class;

3. (A) For each Distribution Date prior to the Stepdown Date or on which a Trigger Event is in effect in an amount up to}
the Group IE Principal Distribution Amount for such Distribution Date, sequentially:

i. concurrently, to the Class I-A-1-1, Class [-A-1-2, Class II-A-2, Class II-A-3-1 and
Class H-A-3-2 Certificates, pro rata on the basis of their respective certificate
principal balance of each such class.
i. sequentially, to the Subordinate Certificates, until reduced to zero.
(B) For each Distribution Date on or after the Stepdown Date and so long as there is no Trigger Event in effect
sequentially:
i. In an amount up to the related Senior Principal Distribution Amount, concurrently, to}
the Class TI-A-l-1, Class TI-A-1-2, Class Il-A-2, Class IJ-A-3-1 and Class II-A-3-3
Certificates, pro rata on the basis of their respective certificate principal balance of
each such class.
ii. Sequentially, to the Subordinate Certificates, in each case each class shall receive
such class’ allocable share of the related Subordinated Principal Distribution Amount,
until reduced to zero.

Group II Available Funds

1, From amounts otherwise allocable to the Class Mi-A-1-1 Certificates pursuant to priorities 2 and 4 below and provided}
that, for this purpose, the Pass-Through Rate on the Class Iff-A-1-1 Certificates shall be deemed to equal the lesser of
(1) One-Month LIBOR plus { ]% if on or prior to the optional termination date or One-Month LIBOR plus [ ]% after the
optional termination date and (2) the Group II Net WAC Cap Rate for the related Interest Accrual Period, to the Class
(-A-1-1 Swap Account, the amount of any Net Swap Payment or Swap Termination Payment due to the Swap
Counterparty (other than a Swap Termination payment due to a Swap Counterparty Trigger Event) under the Class II
A-1-1 Swap Agreement;
2. To pay interest, pro rata, to the Class Hi-A-1-1, Class IH-A-1-2, Class III-A-2, Class IIJ-A-3-1 and Class IH-A-3-2
Certificates, based on (i) the certificate principal balance of each such class and (ii) the respective Pass-Through Rate of
each such class inchiding any accrued unpaid interest due from any prior Distribution Date as reduced by certain|
interest shortfalls and any Net Deferred Interest allocable to each such class (other than the Class II-A-1-1 Certificates),
To pay interest, sequentially, to the Subordinate Certificates, in an amount equal to the product of (i) the related Group
I Portion of the certificate principal balance of each such class and (ii) the respective Pass-Through Rate of each such|
class as reduced by certain interest shortfalls and any Net Deferred Interest allocable to each such class;
4. (A) For each Distribution Date prior to the Stepdown Date or on which a Trigger Event is in effect in an amount up to}
the Group III Principal Distribution Amount for such Distribution Date, sequentially:

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(Cashflow Description Group Ii Available Funds (continued)
(continued):

i. concurrently, to the Swap Provider any Class Ill-A-1-1 Deferred Interesq
Amount and to the Class TII-A-1-1*, Class II-A-1-2, Class IM-A-2, Class H+
A-3-1 and Class II-A-3-2 Certificates, pro rata on the basis of the respective
certificate principal balance of each such class, immediately prior t o such}
Distribution Date, until reduced to zero, provided however that any amounts
payable to the Class I-A-3-1 Certificates and the Class I-A-3-2 Certificates
(together, the "Class Il-A-3 Certificates") being paid sequentially, first to the
Class Ti-A-3-1 Certificates and second to the Class II-A-3-2 Certificates, in|
each case until its respective certificate principal balance is reduced to zero;

ii. sequentially, to the Subordinate Certificates, until reduced to zero.

(B) For each Distribution Date on or after the Stepdown Date and so longas there is no Trigger Event in effect.
sequentially:
i. Inan amount up to the related Senior Principal Distribution Amount,
concurrently, to the Swap Provider, any Class H-A-l-1 Deferred Interesy
Amount and to the Class III-A-1-1*, Class II-A-1-2, Class Il-A-2, Class III4
A-3-1 and Class HI-A-3-2 Certificates, pro rata on the basis of thei
respective certificate principal balance of each such class, immediately prioy
to such Distribution Date, until reduced to zero, provided however that anyy
amounts payable to the Class IlI-A-3-1 Certificates and the Class II-A-3-2
Certificates (together, the "Class IM-A-3 Certificates") b ein g paid
sequentially, first to the Class I-A-3-1 Certificates and second to the Class|
Ill-A-3-2 Certificates, in each case until its respective certificate principal
balance is reduced to zero;
it. Sequentially, to the Subordinate Certificates, in each case each class shal
receive such class’ allocable share of the related Subordinated Pca
Distribution Amount, until reduced to zero;
* - Amounts otherwise allocable to the Class Iff-A-1-1 Certificates, will be distributed to the Swap Account, and will be used to pay
the Swap Counterparty in the amount of any Swap Termination Payment due to the Swap Counterparty due to a Swap
Counterparty Trigger Event under the Class I]-A-1-1 Swap Agreement.

Remaining Available Funds from All Loan Groups

1. Fromthe remaining Group I, Group II and Group If Available Funds, if any, to pay the Allocated Realized Loss
Amounts on the Senior and Subordinate Certificates, on a sequential basis.
2. Fromthe remaining Group I, Goup II and Group II Available Funds, if any, to the Certificates then entitled to

receive distributions in respect of principal in order to reduce the Certificate Principal Balance of the Certificates to the
extent necessary to maintain the Required Overcollateralization Amount.

3. Fromthe remaining Group I, Goup II and Group II Available Funds, if any, to pay the Interest Carry Forward
Amounts on the Subordinate Certificates, on a sequential basis.
4. Fromthe remaining Group I, Group I and Group If Available Funds, if any, to pay the Basis Risk Carryover

Shortfall Amounts on the Offered Certificates, (but omly in the event of a Swap Default with respect to the Class III-A+
1-1 Certificates) in the same priority as described above.

5. To pay any remaining amount to the Class C and Class R Certificates.

 

 

 

 

 

 
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Negative Amortization: a Since the Mortgage Loans are subject to negative amortization, the Senior Certificates (other than the Class M-A-1-1
Certificates) and the Subordinate Certificates are subject to increases in their principal balances. However, the amount of
negative amortization that occurs in each interest accrual period with respect to cach mortgage loan will be offset by principal
collections for such period. For any Loan Group, any negative amortization in excess of principal collections for each such
Loan Group (“Net Deferred Interest”) shall be allocated among the Senior Certificates related to such Loan Group and the
Subordinate Certificates based, in the case of the Senior Certificates, on the amount of interest accrued on such Class for the
related Interest Accrual Period computed for this purpose in the case of the Class III-A-1-1 Certificates as though the Pass-
Through Rate were subject to a cap based on the Group II Net WAC Cap Rate as long as the Class I-A-1-1 Swap Agreement
remains in effect, and in the case ofa Class of Subordinate Certificates, based on the interest accrued on the applicable portion|
of such Class for the related Interest Accrual Period. As long as a Swap Default pursuant to the Class II-A-1-1 Swap
Agreement has not occurred and is not continuing, Net Deferred Interest allocated to the Class Il-A-1-1 Certificates, as
applicable, will not be added to the certificate principal balance thereof. Pursuant to the Swap Agreement, the Swap Provider is
required to make an interest payment in respect of such amount for payment to the Class II-A-1-1 Certificates.

 

 

Class M-A-1-1 Swap a On the Closing Date, the Class II-A-1-1 Certificates will have the benefit of a swap agreement (the “Class III-A-1-1 Swap

‘Agreement: Agreement”). Payments under the Class IH-A-1-1 Swap Agreement are required to be made so that the Class [I-A-1-1
Certificates will receive interest payments at a pass-through rate equal to One-Month LIBOR plus the related margin, less
interest shortfalls allocated to such certificates, In addition the Class IIJ-A-1-1 Swap Agreement will pay an amount equal to
any Net Deferred Interest allocated to the Class IN-A-1-1 Certificates on each Distribution Date.

a The Class 1-A-1-1 Swap Agreement will have an initial notional amount of $[114,935,000]. On a Distribution Date while the
Class II-A-1-] Certificates remain outstanding, the Trustee acting on behalf of a separate trust fund (the “Grantor Trust”) will
be obligated to pay to the Swap Provider an amount equal to the excess, if any of (A) the product of (a) the lesser of (1) the
sum of (x) One-Month LIBOR plus [ ]% if on or prior to the optional termination date or One-Month LIBOR plus [ ]% after the
optional termination date and (y) a per annumrate, not to exceed [0.06]% on or prior to the optional termination date or [0.12]%
after the optional termination date (the “Swap Fee Rate”) and (2) the Group III Net WAC Cap Rate for the related Interest
Accrual Period, (b) a notional ammount equal to the lesser of (1) the Certificate Principal Balance of the Class I-A-1-1
Certificates immediately prior to the related Distribution Date and (2) the aggregate principal balance of the Group III Mortgage
Loans as of the first day of the related due period and (c) the actual number of days in the related interest accrual period/360
over (B) any Net Deferred Interest allocated to the Class II-A-|-1 Certificates on such Distribution Date, and the Swap
Provider will be obligated to pay to the Grantor Trust, for the benefit of the holders of the Class TI-A-1-1 Certificates, an
amount equal to the product of (x) One-Month LIBOR plus [ ]% ifon or prior to the optional termination date or One-Month
LIBOR plus [ ]% after the optional termination date and (y) a notional amount equal to the lesser of (1) the Certificate Principal
Balance of the Class IN-A-1-1 Certificates immediately prior to the related Distribution Date and (II) the aggregate principal
balance of the Group ITI Mortgage Loans as of the first day of the related due period, and (z) the actual number of days in the
related interest accrual period/360. Only the net amount of the two obligations will be paid by the appropriate party (the “Class
Tl-A-1-1 Net Swap Payment”).

a Ifany payment by the Grantor Trust to the Swap Provider has been reduced under clause (B) as a result of any Net Deferred
Interest allocated to the Class IlI-A-1-1 Certificates, then the Grantor Trust shall pay to the Swap Provider on future
Distribution Dates any amounts received by the Grantor Trust in respect of such Net Deferred Interest (including amounts
received by the Grantor Trust in respect of interest on such Net Deferred Interest at a rate equal to the sum of (x) One-Month
LIBOR plus [ ]% on or prior to the optional termination date or One-Month LIBOR plus [ ]% after the optional termination date
and (y) the Swap Fee Rate).

= The Grantor Trust shall pay to the Swap Provider any Basis Risk Shortfall Carry Forward Amount received by the Grantor
Trust.

a Any amounts in the Grantor Trust from the Swap Provider attributable to a Class I-A-1!-1 Net Swap Payment will be used to
make interest payments on the Class III-A-1-1 Certificates.

 

 

 

 

 

 
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‘The Cap Agreement: a The LIBOR Cartificates will have the benefit of an interest rate cap contract. Such interest rate cap contract is intended to
partially mitigate the interest rate risk that could result from the difference in (i) the Pass Through Rate for each such
Certificate based on One Month LIBOR plus the related margin (without regard to the applicable Net WAC Cap Rate) and
(ii) the applicable Net WAC Cap Rate. With respect to each applicable Distribution Date the amount payable by the Cap
Provider will equal the product of (i) the excess (if any) of (x) the lesser of (a) One-Month LIBOR (as determined pursuant
to the Cap Agreement) and (b) the Cap Ceiling over (y) the Cap Strike Rate, (ii) the lesser of (x) the Cap Agreement Notional
Balance (described below) for such Distribution Date and (y) the aggregate certificate principal balance of the LIBOR
Certificates immediately prior to such Distribution Date, (iii) a fraction, the numerator of which is the actual number of days
in the related interest accrual period and the denominator of which is 360.

a A separate trust created under the pooling and servicing agreement (the “Supplemental Interest Trust”) will hold the Cap
Agreement. The Cap Agreement and any payments made by the Cap Provider thereunder will be assets of the
Supplemental Interest Trust but will not be assets of any REMIC.

a On each Distribution Date, the Trust Administrator will distribute to the Certificates and Class CE Certificates all amounts
received under the Cap Agreement as follows:

(i) to the Group I Senior Certificates and the Group III Senior Certificates, pro rata, any remaining Allocated Realized
Loss Amounts and then to the Subordinate Certificates, sequentially, any remaining Allocated Realized Loss Amounts|
but only to the extent of remaining Allocated Realized Loss Amounts relating to the Group I Mortgage Loans and
Group IE Mortgage Loans after the application of excess spread.

(ii) to the LIBOR Certificates, pro rata, based on the remaining Basis Risk Shortfalls and then to the Subordinate
Certificates, sequentially, to the Class B-1, Class B-2, Class B-3, Class B-4, Class B-5, Class B-6, Class B-7 and Class B-
8 Certificates an amount equal to any unpaid remaining Basis Risk Shortfalls to the extent not covered by excess
spread.

(iii) to the Group I Senior Certificates and the Group III Senior Certificates, any unpaid interest, pro rata, including any
accrued unpaid interest froma prior Distribution Date;

(iv) to the Subordinate Certificates, sequentially, any unpaid interest, inchiding any accrued unpaid interest from prior
Distribution Dates to the extent not covered by excess spread;

(v) to the Senior Certificates and the Subordinate Certificates, any principal in accordance with the principal payment
provisions described above under “Principal Distribution” m an amount necessary to maintain the applicable
Overcollateralization Target Amount to the extent not covered by excess spread;

 

 

Overcollateralization Target With respect to any Distribution Date (a) prior to the Stepdown Date, an amount equal to [0.50]% of the aggregate Stated]
‘Amount: Principal Balance of the Mortgage Loans as of the cut-off date and (b) on or after the Stepdown Date, the greater of (i) (x) for any|
Distribution Date on or after the Stepdown Date but prior to the Distribution Date in August 2012 an amount equal to [1.25]% off
the aggregate Stated Principal Balance of the Mortgage Loans as of the Due Date in the month of that Distribution Date (aftey
giving effect to unscheduled principal collections received in the related Prepayment Period) and (y) for any Distribution Date on}
or after the Stepdown Date and on or after the Distribution Date in August 2012 an amount equal to [1.00]% of the aggregate
Stated Principal Balance of the Mortgage Loans as of the Due Date in the month of that Distribution Date (after giving effect to
unscheduled principal collections received in the related Prepayment Period) and (ii) the OC Floor; provided, however, that if aj
Trigger Event is in effect on any Distribution Date, the Overcollateralization Target Amount will be the Overcollateralization
Target Amount as in effect for the prior Distribution Date.

 

 

OC Floor: [An amount equal to 0.50% of the aggregate Stated Principal Balance of the Mortgage Loans as of the cut-off date.

 

 

Stepdown Date: The earlier of (i) the first Distribution Date on which the aggregate Certificate Principal Balance of the Class A Certificates has been
educed to zero and (ii) the later to occur of (x) the Distribution Date occurring in August 2009 and (y) the first Distribution Date on
which the Credit Enhancement Percentage (calculated for this purpose only after taking into account distributions of principal on the
Mortgage Loans, but prior to any distribution of principal to the holders of the Certificates) is equal to or greater than approximately
a) on any Distribution Date prior to the Distribution Date in August 2012, [16.50]% and (b) on any Distribution Date on or after the

is tribution Date in August 2012, [13.20]%.

 

 

 

 

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Credit Enhancement Percentage: |The Credit Enhancement Percentage for any class and any Distribution Date is the percentage obtained by dividing (x) the
lageregate Certificate Principal Balance of the class or classes subordinate thereto (which includes the Overcollateralization
Amount) by (y) the aggregate principal balance of the Mortgage Loans, calculated after giving effect to scheduled payments of
principal due during the related Due Period, to the extent received or advanced, and unscheduled collections of principal received
during the related Prepayment Period and distribution of the Principal Distribution Amount to the holders of the Certificates then

entitled to distributions of principal on the Distribution Date.

Credit Enhancement and Stepdown Target Subordination Percentage

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Class «M/ 8) Initial. CE% CE™% On/After Step Down Date-and Prior ta CE.% On/ After Dis tribution
Dis tribution Date in August 2012 Date.in.August.2012

A [Aaa/AAA] 6.600% 16.500% 13.200%
M-I [Aal/AA+] 4.050% 10.125% 8.100%
M-2 [Aa2/AA] 3.350% 8.375% 6.700%
M-3 [Aa3/AA] 2.900% 7.250% 5.800%
M-4 [AV/AA] 2.450% 6.125% 4.900%
M-5 [A2/A+] 1.950% 4.875% 3.900%
M-6 [Baal/A] 1.400% 3.500% 2.800%

 

 

 

 
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M-7 [Baa3/BBBt] 0.850% 2.125% 1.700%
M-8 [Baa3] 0.500% 1.250% 1.000%
Delinquency Trigger Event: a With respect to a Distribution Date on or after the Stepdown Date if the Rolling Sixty Day Delinquency Rate for the

outstanding Mortgage Loans equals or exceeds the product of [40.0]% and the applicable Credit Enhancerrent Percentage
then a Delinquency Trigger Event exists.

(Cumulative Loss Trigger Zz ‘With respect to any Distribution Date on or after the Stepdown Date ifthe aggregate ammount of Realized Losses on the
bevents Mortgage Loans from (and including) the Cut-off Date io (and including) the related due date (reduced by the aggregate}
amount of subsequent recoveries received fromthe Cut-off Date through the prepayment period related to that due date
exceeds the applicable percentage, for such Distribution Date, of the aggregate Stated Principal Balance of the Mortgage
Loans, as set forth below, then a Cumulative Loss Trigger Event will exist:

 

 

 

 

 

 

 

Distribution Date Occurring in Percentage

August 2008 to July 2009 (0.20]%, plus 1/12th of [0.30]% for each month thereafter
August 2009 to July 2010 [0.50]%, plus 1/12th of [0.35]% for each month thereafter
August 2010 to July 2011 [0.85]%, plus 1/12th of [0.40]% for each month thereafter
August 2011 to July 2012 [1.25]%, plus 1/12th of [0.25]% for each month thereafter
August 2012 and thereafter [1.50]%

 

 

 

Senior Principal Distribution a For any Distribution Date and Loan Group will equal the excess of: (1) the aggregate Certificate Principal Balance of the
‘Amount: related senior certificates immediately prior to such Distribution Date (plus, in the case of Group Ill, the Class M-A-1-]
Deferred Interest Amount), over (2) the lesser of (A) the product of @ (8) [83.50]% on any Distribution Date on or after the
Stepdown Date and prior to the Distribution Date in August 2012 or (y) [86.80]% on any Distribution date on or after the
Stepdown Date and on or after the Distribution Date in August 2012 and (ii) the aggregate Stated Principal Balance of the
related Mortgage Loans as of the Due Date in the month of that Distribution Date (after giving effect to unscheduled}
principal collections received im the related Prepayment Period) and (B) the aggregate Stated Principal Balance of the
related Mortgage Loans as of the Due Date in the month of that Distribution Date (after giving effect to unscheduled
principal collections received in the related Prepayment Period) minus the OC Floor.

 

 

 

 

 

 
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‘Transaction Overview (Cont)

 

 

Subordinated Principal a For any class of subordinated certificates, any Distribution Date and Loan Group will equal the excess of: (1) the sum
Distribution Amount: of: (a) the aggregate Certificate Principal Balance of che related senior certificates (plus, in the case of Group II, the
Class I-A-1-1 Deferred Interest Amount) (after taking into account the distribution of the related Senior Principal
Distribution Amount for such Distribution Date), (b) the related aggregate Certificate Principal Balance of any
class(es) of subordinated certificates that are senior to the subject class (in each case, after taking into account the
distribution of the applicable Subordinated Principal Distribution Amount(s) for such more senior class(es) of
certificates for such Distribution Date), and (c) the related Certificate Principal Balance of such class of subordinated
certificates immediately prior to the subject Distribution Date, over (2) the lesser of (a) the product of (x) 100% minus
the applicable Stepdown Target Subordination Percentage for the subject class of Certificates for that Distribution
Date and (y) the aggregate Stated Principal Balance of the related Mortgage Loans as of the Due Date in the month of
that Distribution Date (after giving effect to unscheduled principal collections received in the related Prepayment
Period) and (b) the aggregate Stated Principal Balance of the related Mortgage Loans as of the Due Date in the month
of that Distribution Date (after giving effect to unscheduled principal collections received in the related Prepayment
Period) minus the OC Floor; provided, however, that ifsuch class of subordinated certificates is the only class of
subordinated certificates outstanding on such Distribution Date, that class will be entitled to receive the entire
remaining related Principal Distribution Amount until its Certificate Principal Balance is reduced to zero.

Basis Risk Carryover Shortfall a The Offered Certificates (including, in the event of Swap Termination, the Class II-A-1-1 Certificates) and

Amounts; Subordinate Certificates will be entitled to the payment of an amount equal to the sumof () the excess, ifany, of (@)

interest accrued at the Pass-Through Rate for such Class (without giving effect to the related Net WAC Cap Rate)

over (b) the amount of interest actually accrued on such Class based on the related Net WAC Cap Rate and (ii) the
unpaid portion of any such excess fromprevious Distribution Dates (and any interest thereon at the Pass-Through

Rate for such Class without giving effect to the related Net WAC Cap Rate) (together, the “Basis Risk Carryover

Shortfall Amounts”).

Optional Termination: a The terms of the transaction allow for an option to termmate the Trust, which may be exercised by the Servicer once
the aggregate principal balance of the Mortgage Loans is 1% or less of the aggregate principal balance of the
Mortgage Loans as of the Cut-off Date.

a To the extent not covered by excess interest or overcollateralization, Realized Losses on the Mortgage Loans will be

| Allocation of Losses: allocated to the most junior class of Certificates outstanding beginning with the Class M-6 Certificates, until the
Certificate Principal Balance of the Subordinate Certificates has been reduced to zero.

a Thereafter, Realized Losses on the Group I Mortgage Loans will be allocated first, to the Class I-A-3 Certificates unti
reduced to zero, and second, pro-rata to the Class I-A-2-1 and Class L-A-2-2 Certificates until reduced to zero. Realized
Losses on the Group II Mortgage Loans will be allocated first, pro-rata, to the Class II-A-3-1 and Class II-A-3-
Certificates until reduced to zero, and second, to the Class I-A-2 Certificates until reduced to zero. Realized Losses|
on the Group III Mortgage Loans will be allocated first, pro-rata, to the Class il-A-3-1 and Class I]-A-3-2 Certificates!
until reduced to zero, and second, to the Class III-A-2 Certificates until reduced to zero.

= There will be no allocation of Realized Losses to the Class I-A-1 Certificates, Class II-A-1-1 Certificates, Class I-A-1-2
Certificates, the Class II-A-1-1 Certificates and Class IfI-A-1-2 Certificates. Investors in such Certificates should note.
however, that although Realized Losses cannot be allocated to such Certificates, under certain loss scenarios there
may not be enough principal and interest on the Mortgage Loans to distribute to the holders of the Class I-A-1
Certificates, Class II-A-1-1 Certificates, the Class II-A-1-2 Certificates, the Class I-A-1-1 Certificates and Class III-A-
1-2 Certificates all principal and interest amounts to which they are then entitled.

 

 

 

 

 

 

 

 

 
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Preliminary LIBOR Cap Schedale

   
   

   

       

   

         

 

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9/25/2006 - i) 0 11/25/2009 592,256,854.75 7,6012 9.075
10252006 Se 0 0 12/25/2009 573,208, 785.44 75403 9075
11/25/2006 - 0 0 1/25/2010 554, 755,053.37 75735 9.075
42/25/2006 - 0 0 2/25/2010 953600274731 ESSA 9.075
1/25/2007 - 0 0 3/25/2010 518,425,298.93 7.3608 9.075
2/25/2007 : 0 0 AP25/2010 500,576, 106.56 74906 9.075
3/25/2007 - 0 0 5/25/2010 483,065,950.91 7.4089 9.075
4/25/2007 ee 20 0 65/2010 466, 145,093.72 7.3693 9.078
5/25/2007 - 0 0 7/25/2010 449,793,739.68 73101 9.075
6/25/2007 : oe 8 6 8/25/2010 433,967, 159.82 72401 9.075
7/25/2007 - 0 0 9/25/2010 418,382,931.84 7.1852 9.075
9/25/2007 . O- oO 10/25/2010 403,325, 56105 71188 9.075
9/25/2007 - 0 0 11/25/2010 388,543,840.32 7.0502 9.075
10/25/2007 ae - 0 0 12/25/2010 STAD O21.23 69783 9.075
11/25/2007 - 0 0 1/25/2011 360, 107,105.33 6.9038 9.075
12/25/2007 : oe 0 0 2252011 546-632, 603.64 68255 9075
1/25/2008 - 0 0 3/25/2011 333,631,218.46 6.7439 9.075
2/95/2008 . 0 6 APSO 321004 846.51 6.6602 : | 9075
3/25/2008 - 0 0 5/25/2011 309,007,350.73 6.5712 9.075
4/25/2008 - 0 6 6/25/2011 997,352,46130 64786 9.075
5/25/2008 - 0 0 7/25/2011 286, 114,526.99 6.4227 9.075
6/25/2008 : - 6 0 825/201 275.978 993.31 64108 9.078
7/25/2008 - 0 0 9/25/2011 264,561,100.99 64097 9.075
g/25/2008 958.642.550.025 2 gees =i SO QS42I8 45981 OAOIS | 80m
9/25/2008 928,661,676.87 8.7761 9,075 11/25/2011 244,237,971.79 6.3935 9.075
10/25/2008 — B09,556.867.96 oe 9.075 12252011 334.606.9005 54 6.3840 9.075
11/25/2008 871,204,230.31 8.6234 9.075 1/25/2012 225,313,330.19 6.3740 9.075
127252008 845,760 348.90 B55 907% Bes 21634520012 63625 9.075
1/25/2009 817, 186,547.23 8.4585 9.075 3/25/2012 207,691,240.14 6.3508 9.075
9795/2009 poi aieieeso R378 9.075 “6 4952012 O32 75015 6.3385 0.075
3/25/2009 766,514,009.76 8.2808 9.075 5/25/2012 191,200,131.50 6.3247 9.075
4/25/2009 | 742,367,187.62 os 9075 - 6/25/2012 183,344,12045 6315! = 9.078
5/25/2009 718,982,719.83 3.0894 9.075 7/25/2012 175,735,776.55 6.2999 9.075
6/25/2000 696-336.33404 = 19884 9.075 8/25/2012 0 0 0
7/25/2009 674,404,701.42 7.8849 9.075
9/25/2009 | 653.165.237.809 — | 7618 9075
9/25/2009 632,214,609.30 7.6228 9.075

 

* Subject to change based on information to be received prior to the Closing Date.

 

 
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**Collateral statistics are based on preliminary pool characteristics and will be subject to further revision**

 

[_ DESCRIPTION OF THE TOTAL COLLATERAL ]

   
   

Se eee
Se ee oe oo ne o _ ce WA. Remaining
Number of Mortgage Loans: 8 : 3545 Term (Months): = 427

Aggregate Principal Balance: Range 355 -
$1,377,082,493.55(Months): 480
Average Principal Balance. : : : W.A, Seasoning
- $388.457.60 (Months): : 6
Range: Range
$38,400.00 - $4,500,000.00(Months): 0-5
Orginal WA. Coupon: : : . oo 13A%
Range: California
1.000% - 8.140% Concentration: 40.20%
Gross W.A. Coupon: : : 7175 WA Onginal LIV. 76.34%
Range: Range: 19.38% -
1.000% - 9.192% 100,00%
Net W_A. Coupon: : : Percentage LIV >
: : . ' 6.455%. 80% & no ME 0.00%
Gross Margin: W.A. Months to 1
3.216% Roll:
Range. : . _ Range :
Oe : : 2.020% - 4. 760( Months): dee
Net Margin: Documentation
2.496% Status:
W.A, Gtoss Max Rate: : - ee : oe : : (0.102% Fulb é 18.38%
Range: 7.500% - Other:
12.950% 81.62%
W.A. Net Max Rate? S oe SS : : a 9.380%) Interest Only. Loans: 1.05%
Non-Zero W.A. 12

FICO Score:

 

 
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[ DESCRIPTION OF THE TOTAL COLLATERAL |

    

ee :
% of Pool Weighted Weighted Weighted Weighted

   
   

 
   
 

by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
Amortization Type ofLoans Principal Balance Balance Coupon Margin FICO ; LTV LIV Alt Doc
Interest Only. 14,498.285.00..- 1.05 6839. 3.258 691 78.29 SLB 54.89
Negative Amortizing 1,362,584,208.55 98.95 7179 3.215 712 76.31 76.67 17.99
Total: ee 100.00 FAIS (3.216 qi 1634 96,72 18.38

 

     

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

Prepayment Penalty Type ofLoans Principal Balance Balance Coupon  _ Margin FICO LIV LTV Ait Doc
No Prepay a U4 335,416,513.83 24.36 7065 2.382 He T1624 76.80 1B.50
12 mo - HARD 854 367,095,664.77 26.66 7.042 3.001 77 75.53 75.97 18.77
24 mo - HARD : 400 155,350,353.06 11.28 7123 3.042 all 7610 T1650 24.58
36 mo - HARD 1517 519,219,961.89 37.70 7.355 3.635 706 77.04 71.27 16.17
Total: a “3545 1,377,082 493.55 100.00 TATS 3.216 W12 7634 IO72 18.38

 
        

% of Pool Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
Loan Servicers of Loans. Principal Balance Balance Coupon Margin FICO LTV LTV Alt Doc
UM 5545 1377082,403.55 100.00 7175 3216 71 1634 16? 18.38

 

Total: 3,545 —1,377,082,493.55 100.00 TAS 3.216 712 76.34 76.72 18.38

 

 

 
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DESCRIPTION OF THE TOTAL COLLATERAL

 

So
% of Pool Weighted Weighted
by Average Average Weighted Average Average

Weighted Weighted

Number Principal Gross Gross Average Original Combined % Full

Current Principal Balance of Loans Principal Balance Balance — Coupon Margin FICO LIV LTV Alt Doc
$50,000.00 or less 2 $35,225.00 Ou TBS9 342] 126 7954 19.54 65.51
$50,000.01 - $100,000.00 100 8,141,607.12 0.59 7.359 3.387 715 71.74 T174 49.92
$100,000.01 ~ $150,000.00 237 30,420,770. 70 22h 5 726) 3,329 W16 748) 7489 3049
$150,000.01 - $200,000.00 410 73,600,943.36 5.34 7.279 3.279 714 76.51 76.69 28.27
$200,000.01 - $250,000.00 404 111,957,012.36 813 7.359 3410 13 F153 TEES. 30.29
$250,000.01 - $300,000.00 436 120,499,557.59 8.75 7.192 3.270 709 77.48 771.68 23.63
$300,000.01 - $350,000.00 342 TO 933, 531.81 8.06 DAL 3348 AO POS W922 24.49
$350,000.01 - $400,000.00 320 120,700,085.51 8.76 7.274 3.251 709 78.25 7842 18.04
$400,000.01 - $450,060.00 QR LIGASE 68119 B46 1160 3.284 709 73.00 78.79 18.66
$450,000.01 - $500,000.00 205 98,120,915.49 7.13 7.019 3.232 713 79.23 79.78 15.63
$500,000.01 - $700,000.00 418 244961,192 51 LEA 7,159 3255 71S 7B19 T8389 10.24
$700,000.01 - $900,000.00 115 91,245,558.53 6.63 7.040 3.086 720 75.03 75.19 10.12
$900,000.01 - $1,000,000, 00 59. 57, A48,715.41 47 6.885 3.047 TiO 75.06 75.24 674
$1,000,000.01 - $1,100,000.00 14 14,816,976.39 1,08 6.997 2.968 T21 65.20 65.57 14.24
$1, 100,000.08 or more ill 177,913, 720,58 120) 7.040 2.904 70 68.59 6938 1831
Total: 3,545 —1,377,082,493.55 100.00 7.175 3.216 712 76.34 76.72 18.38

 

 

Original Gross Rate
Take =e
1.001% - 1.500%
1.501% - 2.000%

2.001% ~ 2.500%
2.501% - 3.000%
3.001% - 3.500%
3.501% 4.000%
4.501% - 5.000%
500184 - 5.500%
5.501% - 6.000%
6.00144 - 6.500%
7.001% or more
Total:

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

ofLoans Principal Balance Balance Coupon Margin Fico LTV LTV Alt Doc
1,086 706,923,379.99 $1.33 697] 3.000 709 73.06 Wi ll27
760 277,032,635.49 20.12 7.347 3.309 118 75.06 75.40 26.68
226 269,927,001,94 19.60 T2284 3.480 109 7908 80.26 14:33
263 81,894,854.25 5.95 7.784 3.640 P25 86.61 86.75 61.67
6 27,63 1,940.91 2.01 7.653 3.681 713 $5.05 85,69 8.45
32 8,017,972.00 0.58 8.520 4.222 747 97.19 97.19 84.44
2 691,000.00 0.05 1663 3.231 686 100.00 100,60 £00.00
2 1,063,750.00 0.08 4.950 2.757 750 73.63 73.63 0.00
4. _1,887,200.00., O14 5.483 3318 Ww 7186 81.39 11.02
2 797,000.00 0.06 5.930 3.266 671 67.40 67.40 0.00
2 733,000.00 0,05 6.500. 2680. 40 246. Wd 0.00
3 482,750.00 0.04 7.990 3.886 740 94.29 94.29 77.63
3545  1,377,082,493.55 106.00 VAIS 3.216 72 16,34 76.72 18.38

 

  

Current Gross Rate

D.S01% = 1.000%
1.001% - 1.500%

1501 %- 2.000%
2.001% - 2.500%
2.501% = 3.000%
3.001% - 3.500%
4.501% ~ 5.000%
5.001% - 5.500%
5.501% - 6.000%.
6.001% - 6.500%
6:501% =F, 000%

DESCRIPTION OF THE TOTAL COLLATERAL

% of Pool Weighted Weighted Weighted Weighted

Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
of Loans Principal Balance Balance Coupon Margin FICO LTV LTV Alt Doc
120 50,348,977.00 3.66 1.000 3.029. 708 TLRS DAD | 6.96
37 16,488,578.97 1.20 1.376 3.561 701 77.89 77.89 21.63
7 27,691 298 00 2.01 Le) 3.528 703 7903 79,03 9.58
15 3,924,900.00 0.29 2.393 3.960 107 89.19 89.19 66.74
5 | 2,226,500.00 0.16 2.619 3.898 693 92.59 92.59 26.90
I 188,000.00 0.01 3.400 4.690 720 100.00 100.00 106.00
2 1,063,750.00 0.08 4.950 2757 — 10 73.03 3.03 0.00
4 1,887,200.00 0.14 5.483 3.318 71 77.86 81.39 11.02
2: _ 197,000.00 0.06 $930. 3.266 61 6/40 67,40 0.00
4 1,582,900,00 0.11 6.474 2,326 732 73.93 73.93 31.58

212 95,849.349.08 6 6,96 6.861 2429 B73 1/88

 
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7.001% or more

TotaE.

3,067 1,175,034,040.50 85.33 7.704 3.273 713 76.66 77.02 18.90

3,545 1,377.082,493.55 100.00 7.175 3.216 712 76.34 76.72 18.38

 

ee oe Nee Loans

 

Gross Margin

2.001% = 2.250%
2.251% - 2.500%
2.501% - 2.750%
2.751% - 3.000%
3.001% = 3.250%
3.251% - 3.500%
35016 -3.7500e
3.751% - 4.000%

A001 % = 4.250%
4.251% - 4.500%
4.501% - 4.750%
4.751% - 5.000%
‘Total:

% of Pool Weighted Weighted

Weighted Weighted

by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
of Loans Principal Balance Balance Coupon _ Margin FICO LIV LIv Alt Doc
es 5,112,136.00 037 6,180: 2137 T G7 450 242
189 86,614,583.08 6.29 6.466 2.425 717 3.31 74.19 14.29
$43. 248,843, 743.09 18.07 6842 2610 Ns BTL BO8 15.13
603 254,998,985,82 18.52 6.829 2.886 71 B52 B85 14.96
482 176;192.948 52 1279 (231 3.150). 9 TAG2 TAG TTL
528 173,259,490.77 12.58 7.162 3.413 710 76.20 76.48 17.69
604 -233,299,296.60. 16.94 7479 3.601 7103 7154 7190 4830
288 95,228,069.36 6.92 7.905 3.861 707 81.14 81.60 21.08
109 3781 261.04 278 TA] | 412 1B 86.14 86.31 45.85
74 25,202,753.76 1.83 7771 4.384 713 90.09 90.09 31.88
110 38,742, 821.91 281 8.658 4.600 726 92.78: — O78 33.38
3 1,716,400.00 0.12 9.192 4.760 673 89.59 89.59 0.00
3,545  1,377,082,493.55 100.00 TADS 3216 712 1634 76.72 18.38

 

 

  

Remaining Months to Maturity

35h 355 oe
356 - 360

36Formore |

Total:

DESCRIPTION OF THE TOTAL COLLATERAL

ee Neue to Maturity Aion Ogee re Loans
% of Pool Weighted Weighted

   

Weighted Weighted

by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
ofLoans Principal Balance Balance | Coupon Margin FICO LTV LTV Alt Doc
f.  196.788.96 - O0L 7802 3370 699 90.00 9000 100.00
1,634 602,692,329.31 43.77 7.075 3.133 113 74.86 75.29 18.54
Lote 174193 375. 28 5622 7.252 3280 qe TTAS 183 18.23
3,545 —_1,377,082,493.55 106.00 7.175 3.216 712 76.34 76.72 18.38

 

  

Seasoning

1-6
Total:

    

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Awrage

Number Principal Gross Gross Average Original Combined % Full
of Loans Principal Balance Balance Coupon Margin FICO LIV LIV Alt Doc
34) 1,340,969 ,666.03 97:38 L158 3.212 72 16.28 76.68 18:23
98 36,112,827.52 2.62 7.801 3.369 713 78.29 78.29 24.02
3,545 — 1,377,082.493.55 100.00 TAB 3.216 W2 76.34 TOI 18.38

 

 

Months to Roll

Weighted Weighted
by Average Average Weighted Average Average

% of Pool Weighted Weighted

Number Principal Gross Gross Average Original Combined % Full
of Loans Principal Balance Balance | Coupon Margin FICO LIV LIV Alt Doc
3530 LB AIR 7935505 90.64 L180 3.216 72 7634 7o72 18.40
2 684,900.00 0.05 6.621 3.095 680 78.74 78.74 30.65
he 2,899,050.00 O21 5936 335) W 99 7828 5.69
4 1,379,750.00 0.10 5.231 2.758 735 73.87 73.87 15.08
3.545 1.377,082,493.55 100.00 TAS 3.216 T2 16.34 16.72 1838

 

   

Gross Lifetime Maximum Rate
2001s = 7.500%

% of Weighted Weighted Weighted Weighted
Poolby Average Average Weighted Average Avwrage

Number Principal Principal Gross Gross Average Original Combined % Full

of Loans Balance Balance — Coupon Margin FICO LTV LTV Alt Doc

4 94845000 0 PSSA 3.122 677 7100 F718 44)

  

  
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9.501% - 10.000% 2,198 950,346,027.42 69.01 6.957 3.028 709 73.35 73.88 12.79

10,001% - 10.00% 1 TTB AAS 15,05 133 3312 7B TA19 74.30 18.90
10.501% - 1.000% 636 217,079,465.61 15.16 7871 3.945 718 91.45 9145 42.45
12.001% of more : 2 485,400.00 O04 7907 3.275 680 1838 BSS. ABD
Total: 3,545 _1,377,082,4S3.55 100.00 7175 3.216 712 16.34 76.72 18.38

 

      
     

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Avwrage
Number Principal Gross Gross Average Original Combined % Full
Rate Adjustment Frequency of Loans Principal Balance Balance | Coupon Margin FICO LTV LIV Alt Doc
i : 3545 1,377,082,493 55 £00.00 TAB 3.216 F2 16.34 16.72 18.38
Total: 3,545 —1,377,082,493.55 100.00 TA75 3.216 712 76.34 76.72 18.38

 

        

  

 

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
Payment Adjustment Frequency of Loans Principal Balance Balance — Coupon Margin FICO LIV LIV Alt Doc
I Se : a4 14,498 285.00 1,05 6.839... 3.258 Ol. 7829 S43 54.89
12 3,511 1,362,584,208.55 98.95 7179 3.215 712 76.31 76.67 17.99
Total: 3.845 1377,082.49355 — 100.00 TATS 3216 Taz 76.34 1672 18:38
| DESCRIPTION OF THE TOTAL COLLATERAL |

 

       
     

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
Maximum Balance Amount of Loans Principal Balance Balance — Coupon Margin FICO LIV LIV Alt Doc
Oo a 4 1440898500 0S BID SSR LR BL S489
110 881 323,997,668.42 23.53 7.186 3.301 Tit 78.92 79,35 33.72
125. 2,630 1,038,586,540.13 B42 TT 3.189 - 7B 5.50 B84 13.09
Total: 3,545  1,377,082,493.55 100.00 7175 3.216 712 76.34 76.72 18.38

 

    
     

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
Periodic Payment Cap of Loans Principal Balance Balance Coupon Margin FICO LTV LIV Alt Doe
0 oe a4 [449828500 105 6.839 3.258 69] 729.5) BIAS 54.89
75 3,511 1,362,584,208.55 98.95 7.179 3.215 712 76.31 76.67 17.99
Total: : = 3545 1,377,082,493.55 100,08 VATS 3.216 The 16340 76.72 18.38

 

    
     

% of Pool Weighted Weighted Weighted

Weighted
by Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

Original LTV ofLoans Principal Balance Balance | Coupon Margin FICO LIV LIV Alt Doc
50,00% orless Ce 149 46,861,441.81 BAO 1.037 3.064 726 42.43 43.23 4.22
50.01% - 55.00% B 34,378.021.49 2.50 7.056 3.064 722 52.36 53.19 10.57
55.01% .- 60.00% : 96 42;122,870.83 3.06 7026 2.940 7B S271 58.12 TAL
60.01% - 65.00% 144 72,886,414.34 5.29 6.953 3.125 704 63.27 63.39 3.25
65.01% = 70,00% ee ee 35 125,288,638.37 939 6.907 3.040 10S O82 69.25 9.93
70.01% - 75.00% 693 274,595,445,54 19.94 7.135 3.171 700 74.18 74.49 7.28
TO - 8000 13 $00,341,364.91 36.33 7.026 3.042 Ds 1952 80,09 19.12
80.01% - 85.00% 53 17,072,956.12 1.24 7.507 3.697 710 83.95 83.95 22.00
85.01% - 90.00%. : 524 185,62 1,082.89 13.48 T682 aS 73 BOAR BOAR 20.63
90.01% - 95.00% 113 33,900,232.52 2.46 7.603 3.440 703 94.62 94.62 93.07
95.01% - [00.00% Se i47 40,014 024 73 ODE 8.148 4.132 TAL 99.90 99.90 100,00

Total: 3,545 —1,377,682,493.55 100.00 TATS 3.216 712 76.34 76.72, 18.38

 
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c

  

 
 

Geographical Distribution
Calforna:
Florida
New York
Virginia
Arizona
Other
"Totak

 

       

DESCRIPTION OF THE TOTAL COLLATERAL

ee

% of Pool Weighted
by Average
Principal Gross

poe

Number
of Loans Principal Balance
L188 553,584,493.23
769 254,539,946.09
89 63,706,092. 45
144 59,247,718.49
169 57,622,865.28
1,186 388,381,378.01
3.545  1,377,082,493.55

Balance Coupon

40.20 7125
18.48 7318

4.63 1.090

4.30 7.046

ANS 727)
28,20 7173
100.00 7.175

Weighted
Average Weighted
Gross Average
Margin FICO
3186 3
3.323 74
2.985 705
3.433 706
3.203 3
3.195 713
3.216 qi2

Weighted Weighted

Average
Original

Average
Combined

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
California Loan Breakdown of Loans Principal Balance Balance Coupon Margin FICO LTV LTV Alt Doc
Nonhem CA os 330,595,133.29 24,01 WS Ash 16 75.29 5 2.86
Southem CA 480 222,988,759.94 16.19 7.124 3.192 707 74.84 75.18 13.90
State notin CA 2357 823,498 ,00032 59.80 7.209 3.236. mR TEAG TLS3 23.82
Total: 3,545 —1,377,082,493.55 100.00 7.175 3.216 712 76.34 76.72 18.38
[_ DESCRIPTION OF THE TOTAL COLLATERAL ]

 

 
 
 
 

 

 

Weighted

  

  

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

Top 10 Zip Codes of Loans Balance Coupon Margin FiCO LIV LIV Alt Doc
34746 : 26. 0.86 8.429 3.99) 744 86.52 86.52 TAG
11968 5 0.56 7.346 2.914 726 63.56 65.52 45,37
4549 50 O49 6.142 2.882 Bl 68.73 68.73 0.00.
29451 4 0.36 7.611 3.179 734 76.33 76.33 54,45
02891 2 0.33 T7548. 3.116 780. S187 $1.87 0.00
34108 5 0.33 7.339 2.907 697 69.89 69.89 0.00
94513 Qo Q32 7061 3.209 722 18.89 73.89 1123
94565 lt 0.30 7.677 3.245 692 75.72 75.72 0.00
94561 9 0.29 2251 3.33) q08 dA 24 7.43 0.00
91915 7 0.29 8.110 3.678 702 79.34 79.34 0.00
Other = 3Ao2 4.55 96.18 Tiet 3.214 ce 16.49 16.87 18.57
Total: 3,545 —1,377,082,498.55 100 7.175 3.216 712 76.34 76.72 18.38

 

 

 

   
 

 

  

   

 
  

 

   

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

FICO Scores of Loans Principal Balance Balance —_ Coupon Margin FICO LTV LTV Alt Doc
600 or less ornotuyailable ees 1327, 128.00 O08. RTI. 3 BF 586 O3.01 OS0k 50.15
601 - 620 15 5,009,469.00 0.36 7.565 3.133 616 73.22 73.22 43.14
6212 GAO” a dSAé <3) A8 596,780 83 BSI FAQ) 32530 O32 TE 36 TES 29.44
641 - 660 309 119,092,727.46 8.65 6.805 3.200 651 72.16 7.14 19.24
66] - 680. 530 210,059, 145,28 0 TAN 3.250 670 T1O3 7140 1044
681 - 700 573 235,289,271.88 17.09 7.053 3.193 691 16.97 77.33 17.37
Wl 720 516 197,693,229.81 1436 1299 3293 TO: BT TOAT 20.78
721-740 423 169,019,994.10 12.27 7.197 3.189 730 76.82 7713 16.97
TA\ > 700 : 34] 137,608,531-89 9.99 7336 3.207 75h 16.3 169) 20.05
761 greater than or equal to 679 253,056,220.30 18.38 7.196 3.162 782 75.68 75.97 20.62
‘Potal: 3,545  1377,082,493.55 100.00 TATS 3.216 712 76.34 716.72 18.38

 

 

 

| DESCRIPTION OF THE TOTAL COLLATERAL ]
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eee
Weighted Weighted Weighted Weighted

  

Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

Mortgage Properties ofLoans Principal Balance Balance —_ Coupor Margin FICO LTV LIV Alt Doc
PUD : / ee 76. -312233,755.78 22.67 71216 3.224 a4 7193 73. 21a
Condominium 460 139,263,214.49 10.1] TAI6 3.313 720 80.24 80.47 23.74
Coop 7 2,940,360,00 021 FAOO 2.728 = 100 18.92 15.92 1449
Single Family 2,148 861,605,088.96 62.57 7AL2 3.194 710 75.38 75.81 15.95
‘Two- to Four Family: ‘ 14 OL040, 074.32 AaB 7309. 3283 23 RB. 7299 21:99
Total: 3,545 —1,377,082,493.55 106.00 7A75 3.216 712 76.34 76.72 18.38

 

      

     
   

   

% of Pool Weighted Weighted Weighted . Weighted
: by Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

Occupancy Types ofLoans Principal Balance Balance Coupon Margin HCO LIv LIV Alt Doc
Jnvestor< al 208,961,733.52 15.17 TASB 3315 723 TAS 1430 18.90
Primary 2,592 1,080,491,393.40 78.46 7.092 3.196 709 76,38 76.82 18.41
Secondary 242 87,629,366.63 636 1357 3218 6 80:88. 8133. 1679
Total: 3,545 —1,377,082,493.55 100.00 TAT5 3.216 712 76.34 76.72 18.38

 

 
    
         

Weighted

 

 

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
Loan Purpose of Loans Principal Balance Balance — Coupon Margin FICO LIV LTV Alt Doc
Purchase : | LO 379,662,83724 2ST TAO. 6 Baal P26 S408 8451 28:35
Refinance - Rate Term _ 622. 2A8,547,568.97 18.05 7.230 3.378 702 79.99 80.99 18.48
Refinance - Cashout _ L909 TAS S7208734 54.38 6.907 3.098 108 F120. 71.36 13.29
Total: 3,545 —1,377,082,493.55 100.00 7175 3.216 712 76.34 76.72 18.38
| DESCRIPTION OF THE TOTAL COLLATERAL |

 

 
    

oe Ce hace. Loans”

 

  

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Gross Gross Average Original Combined % Full

Document Type ofLoans Principal Balance Balance Coupon Margin FICO LTV LIV Ait Doc
Full _ a : 824 253,102,609.99 = 18.38 TAS 3334 WS 8398. 84.41 100.00
Reduced 2,249 974,256,085.69 70.75 7A07 3.179 714 76.00 76.39 0.00
Stated Doc ee AT 149.723,797:87.. 10,87 TAG 3.257 695 65.02 65.86 0.00
Total: 3,545 — 1,377,082,493.55 100.00 7.175 3.216 712 76.34 76.72 18.38

 

   
         

Weighted Weighted Weighted

 

% of Pool Weighted
by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
Recast Period ofLoans Principal Balance Balance | Coupon Margin Fico LIV LTV Alt Doc
0 eee ee : 8k 1440828500 105 £6839 3.258 ool 13,29 SL13 54.89
60 3,511 1,362,584,208.55 98.95 7.179 3.215 712 76.31 76.67 17.99
Total: : : 3,545 — 1,377,082,493.85 100.00 PETS 3.216 TW 76,34 7672 18.38

 

     

Weighted

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Gross Gross Average Original Combined % Full
First Payment Adjustment (Months) of Loans Principal Balance Balance Coupon Margin FICO LIV LIV Alt Doc
Le / 34 14498.289.00_. 105 6.839 3258 Ol 78.29 8113 $4.80
12 2,907 1,160,032,042, 14 84.24 7.149 3.214 713 76.07 76.42 16.64
60 ee : 604 202,552,166.41 147 A350 3224 210 TB 7815 23.73

 

Total: 3,545 —1,377,082,493.55 100.00 7AT5 3.216 712 76.34 76,72 18.38

 
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1 DESCRIPTION OF THE GROUP I COLLATERAL |

 
   

ee cele al

Number-of Mortgage Loans: : : ce ee 4254. Term (Months): 430
Aggregate Principal Balance: Range 355 -
$522,446,017.83(Months): 480
Avetage Principal Balance: Q : : : : : : W.A: Seasoning
: : $416,623.62 (Months): 0
Range: Range
$43,200.00 - $4,500,000.00(Months): 0-5
Orginal W.A. Coupon: 1353%
Range: 1.000% - California
7.775% Concentration: 43.75%
Gross WA, Coupon: : 7.066% WA. Onginal LIV. 75.20%
Range: 1.000% - Range: 19.38% -
8.982% 100.00%
Net WoAc Coupon: Percentage LEV >
: : 6.358% 80% & no ME 0.00%
Gross Margin: W.A. Months to 1
3.014% Roll:
Range: : ] : oS : : 2.020% a Range :
eee : gece) 4550%(Months): 1-12
Net Margin: Documentation
2.305% Status:
W.A. Gross Max Rate: : : : : : : 10.106% Ful “| 20.50%
Range: 7.500% - Other:
10.550% 79.50%
W.A. Net Max Rate: : . ee o 930794 Interest Only Loans: 147%
Non-Zero W.A. 716

FICO Score:

 

 
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| DESCRIPTION OF THE GROUP COLLATERAL |

  
 

Amortization ce

       
   

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Amortization Type of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
Interest Only oe : - 16 22 L087 572.00 1A) 4239 3.302 671 7939 8126 80.84
Negative Amortizing 1,238 514,758,445.83 98.53 7.064 3.009 716 75.64 76.05 19.60
Total: ee 8 F254 52244601783 100.00 7.066 3.014 716 75.70 76.13 20.58

 
       
     

% of Pool Weighted Weighted

Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined = % Full
Prepayment Penalty Type of Loans Balance Balance — Coupon Margin FICO LIV LTV Alt Doc
12mo=-HARD. oe 854 367,005,664.77 70,26 7082 3001. 1553 IS OT IS77
24 nw - HARD 400 155,350,353.06 29.74 7.123 3.042 711 76.10 76.50 24.58
Total: 1254 52244601783 106.00 7.066 3.014 716 75.70 76.13 20.50

 

 
 

  

ee eee erg

    

Weighted

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Loan Servicers of Loans Balance Balance Coupon Margin FICO _ LTV LTV Alt Doc
AHM 1254 $22, 446,017.83 100,00 71.006 3014 U6 1S. 7613 20,50

—— —

Total: 1,254 522,446,017.83: 100.00 7.066 3.014 716 75.70 76.13 20.50

 

 
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| DESCRIPTION OF THE GROUP TF COLLATERAL |

  
  

ee-of the Mortgage Loans coe ue
of Pool Weighted Weighted Weighted Weighted

   

Yo
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Current Principal Balance of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
$50,000.00 orless : i 4 2 180,800.06 0.03 TTS 3.316 710 80.00 80.00 Tell
$50,000.01 - $100,000.00 37 2,879, 184.74 0.55 7.677 3.245 T17 76.90 76.90 68.83
$100,000.01 - $150,000.00 63 8,031,252.06 A54 TAB 3015). 132 7245 2.66 43,92.
$150,000.01 - $200,000.00 124 22,326,496.11 4.27 7.275 3.043 718 78.30 78.61 35.36
$200:000.01: = $250,000.00 : 179 AQ,803,435.92 781 71287 3.077 NE 78.28 718.81 37.40
$250,000.01 - $300,000.00 138 38,234,950.46 7.32 7.189 3.065 712 77.62 77.74 28.22
$300,000.01 - $350,000.00: ee eee 18 38,134, 760.78 130 FTAQ2 3.075 716. 1329 ETB S2eo | 22.98
$350,000.01 - $400,000,00 118 A4,289,578.32 8.48 7170 2.986 709 78.43 78.81 21.16
$400,000:0b= $450,000.00 : : oe OF 41,318,502.64 a9) 6.973 3.051 qa 1842 7855 18.49
$450,000.01 - $500,000.00 88 42,318,371.43 8.10 7.068 3.060 — 72 78.32 78.77 11.51
$500,000.04 = $700,008.00 : : 164. 95,891, 90010. 18.35 0.956 3075 T22 TLS T8365 LL
$700,000.01 - $900,000.00 50 39,454,366.00 7.55 6.949 2.923 722 73.96 74.10 7.50
$900;000.01 = $1,000,000.00 -. : ee) 18,436,166.51 3.53 D237 2.805 M2 T21) 72,96 (571
$1,000,000.01 - $1, 100,000.00 2 2, 160,000.00 041 4.641 2.904 695 60.10 60.10 49.07
$1,100,000.01 ormore : 33 87,986,252.16 16.84 6.976 2.915 a4 67,86 68.27 21.02
Total: 1,254 522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

 

 
       

% of Pool Weighted Weighted Weighted Weighted

: : by : Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Original Gross Rate of Loans Balance _ Balance Coupon Margin HCO LIv LIV Alt Doc
0.501% ~ 1.000% _ o : 564 26L LOS 341050. A008. 6.765 2787 73 Bal 23.81 13.98
1.001% - 1.500% x 318 121,782,927.14 3331 7.204 3.171 722 TSA9 75.50 27.79
4.501% - 2.000% os 240 97,231,159 78 Ase 7A 3314 2 78.61 7919 = 1930
2.001% - 2.500% 103 30,360,705.89 5.81 7.672 3.379 720 84.92 84.92 50,82
2,501% = 3.000% : 19.» 9,169,240.00 1.76 LQ 3,636 Tat 83.78 83,78 25.46
3.001% - 3.500% 8 2,474,644.00 0.47 8.186 3.754 752 95.06 95.06 75.84
5.001% - 5.500% 1 20R000000 0d 5350 0 OU ABD 7482 100.00
7.001% or more i 108,000.00 0.02 7.775 3.450 667 T4A48 T448 0.00

‘Total: ; : : 1254 5$22,446,017.83 100.00. 7.066 3.014 vat 75.10 76.13 20.50

 
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| DESCRETION OF THE GROUP i COLLATERAL ]

  

Ga clan Penta airs Nas eit:

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Avwrage Average

Number Principal Principal Gross Gross Average Original Combined % Full

Current Gross Rate __of Loan: Balance Balance Coupon Margin FICO LIV LIV Alt Doc
O501%- 1.000% - . ce 8) 17,905,325.00 3.43 L000. 2726 76 TO24 1055 939
1.001% - 1.500% 17 7, 741,020.00 1.48 1.391 3.236 725 7146 TIAG6 18.51
1,501% = 2.000% as 12 2 5,183,000.00. 0.99 1.832 3,389 7106 81.82 $182 28.08
2.001% - 2.500% 3 762,200.00 0.15 2.392 3.463 723 84.00 84.00 64.94
2.501% = 3.000% : : i 599,000.00 OAT 2875 4.065 726. 100.00. 100.00 100,00
5.001% ~ 5.500% 1 208,000.00 0.04 5.350 2.400 694 74.82 74,82 100.00
6.001% - 6.500%. : oad 849,900.00. » O16 6.452 2.020 25 16.92 76.92 58.82
6.501% - 7.000% 95 43,404,128.66 831 6.869 2.437 17 72.01 TBAT 21.34
7.001% otmore 1,088 445,82) 844.17 85.33 7504 3.073 WS 76.12. 7651 20.52
Total: 1,254 —522,446,017.83 1060.00 7.066 3.014 716 75.70 76.13 20.50

 

            

  

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full

Gross Margin of Loans Balance Balance Coupon Margin FICO LTV LIV Alt Doc
2.001% ~ 2.250% oe 4 139890000 026. 6508 20 a 7658 79.29 TAWA
2.251% ~ 2.500% 84 39,272,728.66 7.52 6.266 2419 720 71.50 72.69 16.64
2501% ~ 2.750% oe 249 113,506308.18 21.8 6893 2.088 16 Bll BAT 1734
2.751% - 3.000% 378 —_-165,121,559.86 31.61 6.798 2.883 709 73.50 73.62 13.91
300106 3.250% ee 8 RO Be od 19.95
3.251% - 3.500% 102 35,673,716.35 6.83 7.385 3.390 19 79.10 79,39 29.06
3.501% 3.750% ' : 02> 38319,847.92 38 oe a BG
3.751% - 4.000% 74 25,301,610.43 4.84 8.075 3.863 724 92.50 92.50 32.64
4.001% 4.250% coe 20 10,344,504.00 1,98 6.562 4075 TR 26 92600 3330
4.251% - 4.500% 1 75,000.00 0.01 8.697 4.265 698 100.00 100.00 100.00
ASOPG- 4 75006. ee - al 259,200.00 0.05 $982 4550 705 90.00 9900 — 0.00

Total: 1,254 522,446,017.83 100.00 7.066 3.014 716 75.70 76.43 20.50

 

 
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| DESCRIPTION OF THE GROUP I COLLATERAL |

Remaining Months to Maturity of the Mortgage Loans

 

% of Pool. Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Remaining Months to Maturity of Loans Balance Balance Coupo Margin Fico LTV LTV Alt Doc
351 - 355 : a to 196,788.96 004 PROD 5370 699 90.00 90.00 100,00
356 - 360 571 218,086,276.53 41,74 6.984 2.968 716 TAA6 74.89 22.05
36lormere ee <6 682 304,162,982 34 58.22 7125 3.046 U6 76.57 ee) 19.34
Total: 1,254 —522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

 

   

Seasoning of the Mortgage Loans

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Seasoning of Loans Balance Balance Coupon Margin FICO LIv LIV Alt Doc
Q — 1220 509,402,460.05 07.50 7.054 30T1 W180 9562. 76.06 20.58
1-6 34 13,043,557.78 2.50 7.553 3.121 71 78.77 78.77 17.28
Total: x 1254 522,446.017,.83 106.00 7.066 3.014 716 75.70 76.13 20.50

| Months to Roll of the Mortgage Loans

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Months to Roll of Loans Balance Balance Coupon Margin FICO LIV LIv Alt Doc
k oe : : : 1252: $22,130,017 83 99.94 | T7067 3.014 TG: 110. 16.13 2047
12 2 316,000.00 ° 0.06 6.179 2.759 685 74.70 74.70 65.82

Total: — 1254 522,.446.017.83 100.00 7.006 3.014 716 75.70 70,13 20,50

 
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| DESCRIPTION OF THE GROUP I COLLATERAL |

   

“Gross Lifetime Maximum Rate ofthe Mortgage Loans

   

% of Poot Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Fall

_——Lat0ss Lifetime MaximumRate_ofLoans __Balance _Balance _Coupon_ _Margin _FICO__EIV___}IV__Alt Doc _
TOOL% - 7 500%. SS : 2 728, 150.00 O14 7240 2.808 684 Re RS
9.501% ~ 10.000% 723 351,090,899.19 67.20 6.877 2.811 711 72.77 73.38 15.04
10,001% - 10.500% 310 98 964,796.60 A837 1243 3215 PR) BO] W419 21.58
10.501% - 11.000% 219 74,661,572.04 14.29 7727 3.707 721 91.52 91.52 45.01
Total: : 1254  522,446,017.83 106.00 7.066 3.014 716 75.10 76.13 20.50

       
     

% of Pool Weighted Weighted Weighted Weighted

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Rate Adjustment Frequency of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
i 1954 520.446.0173 160.00 7066 3.014 716 15.10 16.13 20.50
Total: 1,254 — 522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

 

       

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Payment Adjustment Frequency of Loans Balance Balance Coupon Margin, HCO LIV LTV Alt Doc
to. : j TO87572.00 147 7.239 3302 671 79.30 $1.26 80.84
12 1,238 514,758,445.83 98.53 7.064 3.009 716 75.64 76.05 19.60

 

Total: L284 522,446,017.83 100,00 7.066 3.014 716 73.10 76,13. 20.50

 

 
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| DESCRHTION OF THE GROUP I COLLATERAL |

  

    

Maxinum Balance Amount of the Mortgage Loans :
% of Pool Weighted Weighted Weighted Weighted
Average Average Weighted Average Average

 

Number Principai Principal Gross Gross Average Original Combined % Full

Maximum Balance Amount of Loans Balance _—_—Balance_ = Coupon__—_— Margin FICO LIV LIV Alt Doc
6 _ : 16 TOS7S7200.. 147 1.239 3302 677 7939 81.26 80.84
110 294 117,723,685.86 22.53 7.153 3.060 TU 76.74 71.35 33.92
125 : : O44 397,034,759.97 = 76.00 7.037 2.994 8 7531 75.67 15.35
Total: 1,254 522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

 

  
     

% of Pool Weighted Weighted Weighted Weighted

 

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Periodic Payment Cap of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
0 : 16 7,687,572.00 LAT 1239 3.302 O77 1939 81.26 80.84
75 1,238 514,758,445.83 _ 98.53 7.064 3.009 716 75.64 76.05 19.60
‘Total: - 1254  522,440,017.83 100,00. 7066 3.014 716 75.10 7613 20.50

 
   

     
   

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Original LTV of Loans Balance Balance — Coupon Margin FICO LIV LTV Alt Doc
50.00% or less. : oe : a o | 1685331300. 3.23 : 634 2819 Be BIB 4451. OF
50.01% - 55.00% 37 21,895,376.00 --+ 4.19 6.991 2.960 TP0 52.22 53.41 11.33
55.01% 60.00% B : al 20,445,305:-44- agi 1064 2789 WT STR S12 5,65
60.01% - 65.00% . 48 21,710,119.39 4.16 6.526 2.820 703 63.12 63.51 2.95
65.01% - 70.00% a 7 $3,087,904 24 ‘1016 6.985 2.904 10] 6885 69.15 1446
70.01% - 75.00% 225 97,813,680.22 18.72 6.932 - 2.964 704 TAA2 74.34 1248
75.01% = 80.00% 509 196,170,320.76 31S 6,999 DBS5 13 1950 8017 2157
80.01% - 85.00% 22 7,544,796.00 1.44 7514 3.402 710 84.33 84.33 22.29
85.01% - 90.00% : 168 GL438,113.98 4176 E583 3534 Th6 89.60 89.60 2253
90.01% - 95.00% 40 11,588,617.35 2.22 7.306 3.215 694 94.57 94.57 95.49
95.01% - 100,00% oe = ee SO 1389847145. 2.660 7912 3.860 TBS 99.92 99.9) 100.00
Total: 1,254 —522,446,617.83 100.00 7.066 3.014 716 75.70 76.13 20.50
| DESCRIPTION OF THE GROUP I COLLATERAL |

 

      
     

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal § Gross Gross Average Original Combined % Full
Geographical Distribution of Loans Balance Balance | Coupon Margin FICO LIV LTV Alt Doc
Califomia = ATR 228,566,263.25 43.75 7035 2987 715 75.29 eS
Florida 248 84,799,705.22 16.23 7.196 3.048 722 76.66 168 16.77
New York © : 35 BD B24 4 628. 6817 2.800 WSs 6612. onli 1738
Virginia 40 20,277,246.11 3.88 7.065 3.256 694 78.68 79.98 39.93
Arzona - S ol 19327,70655 30 7,051 30iée= S652 652 228
Other 397 136,6350,762.39 20.10 7.101 3.053 Ty 77.52 TTT 35.394
Total: — : . ‘1254 52244601783 100.00 7.066 3.014 716 7570 16.13 20.50

 

      
      

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
California Loan Breakdown of Loans Balance Balance | Coupon Margin FICO LTV LTV Alt Doc
NorthemCA | : 305. 148,556, 735.58 28.43 6996 2.904 720 TABS. 15 AQ 959

Southern CA 168 80,009,527.67 15.31 7.106 2.9R 707 76.04 76.57 15.20

 

 
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State not in CA.
Total:

FSi 293,879,754.58 56.25 7.091 3.035 TG 76.0) 16.38 2146

1,254 522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

 

    

DESCRIPTION OF THE GROUP I COLLATERAL

Top 10 Zip Codes of the Mor
% of Pool Weighted

  

Weighted Weighted Weighted

 

by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Top 10 Zip Codes of Loans Balance Balance Coupon = Margin FICO LIV LTV Alt Doc
20451 4 4,906,200.00 0.94 76\l 3.179 4 1633 7633 54.45
94549 3 4,615,000.00 0.88 5.698 2.967 RT 63.64 63.64 0.00
02891 2 : 4,610,000.00 O88 788 3.116 186 — BLS SE8To =. 0.00
11024 1 3,500,000.00 0.67 7557 3.125 699 57.38 57,38 0.00
11968 a3 3,468,000.00 _ 0.66 TING 2784. 2) 098 _ 18.609 15.69 100.00
34108 4 3,426,925.00 0.66 7341 2.909 686 69.86 69.86 0.00
22066 2 3,265,000,00 : 0.62 7216 2.844 - 653 6213. e213. 9.00
22102 i 3,254,000.00 0.62 7.957 3.525 644 73.95 78,37 100.00
10021 2 3.160.821.00 o O61 1934 3.802 109 58.34 55.34 11.67
27927 2 3,100,000.00 0.59 7.812 3.38 TTT 67.51 67.51 0.00
Other 1230 485,140,071-83 _ 92.86 7.045 3,005 716 76.49 76.93 20.06
Total: 1,254 522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

 

    

FICO Scores

600 or less or not available
601 - 620

621 G40

641 - 660

661 - 680)

681 - 700

701-720

721 - 740

TAL - 160

761 greater than or equal to
Total:

 

  

     

  

Weighted

% of Pool Weighted Weighted Weighted
so by. Average Average Weighted Average Average

Number Principat Principal’ ~Gross Gross Average Original Combined % Full

of Loans Balance Balance Coupon _ Margin FICO LIV LIV _Alt Doc _
3 © 666,710.00 - O13 IG 3.329 0 9754 O7 54 100,00
1,402,377.00. 0.27 7.363 2.931 611 66.87 66.87 30.48
47 15,342,044 33 204) 7FQA2 2.894 633 70.53 TOT 40.38
89 36,097,113.20 6.91 FAW 2.970 651 73.90 74.62 28.83
170 74 241,054.64 1421 7138 297% 671 15.97 TAL 1331
212 98,029;722.98 18.76 6.810 2.970 691 75.24 75.43 19.18
7 69,521,012.28 B31 FAQ 3,064 TA FAAS T1688 20.20
175 73,155,711.51 14.00 7.105 3.018 730 16.77 77.14 21.30
129. 5082642263. 9B 7039 3.120 TS) TEI BSD 25.2)
254 103,163,845.16 19.75 TASS 3.023 783 F457 74.92 17.73
1254 $22,4460,017.83 160.00 7006 . 3.014... 716 15.10 7643 20.50

 

  

DESCRIPTION OF THE GROUP I COLLATERAL

Moricave Properties of VON ee
% of Pool Weighted Weighted Weighted

  

Weighted
by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Mortgage Properties of Loans Balance Balance | Coupon Margin FICO LTV LTV Alt Doc
PUD. So 285 HSS90415.16 22.70. 6.984 3054 116 W601 BOS 23.04
Condominium 175 58,583,608.63 11.21 7.345 3.124 726 71.56 71.66 18.73
Coop 3 1,7 11,000.00 0.33 FAST 2725 678 Ta) 78.94 100.00.
Single Family 722 319,749,276.22 61.20 7.061 2.969 714 7457 75.1 18.67
Two- to Pour Fanaly oo B38 7I82 4.56 6.859 3.159 Ww Wal RO. 209
Total: 1,254 —522,446,017.83 100.00 7.066 3.014 716 75.70 7613 20.50

 

  
   

Occupancy Types
Investor
Primary
Secondary:

ee re

    

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Foll
of Loans Balance Balance Coupon. Margin FICO LTV LTV Alt Doc
313. 9691S 17L60 18.55 1253 321 Tal 74.05 Tadd 2132
844 393, 101,358.55 75.24 6.980 2.954 712 75.60 76.13 20.49

97 3Rae ART 68 621 7549 a1 78 gee god 183)

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Total: 1,254 522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

   
 

   

 

© Loan Purpose of the Morteage Loans
% of Pool Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average

Number Principai Principal Gross Gross Average Original Combined % Full

   
 
       

 

 

Loan Purpose of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doe
Purchase i oe 404 153,599.760.15 2940 1340 3.176 130 83.16 83.57 285)
Refinance - Rate Term 208 86,827,344.19 16.62 6.982 3.146 703 78.77 80.01 18.81
Refinance = Cashout ek 282.018.913.49 53.98 6.943. 2884. 2 70.68 70.88 16.66
Total: 1,254 522,446,017.83 166.00 7.066 3.014 716 75.70 76.13 20.50
{ DESCRIPTION OF THE GROUP I COLLATERAL |

 

   
       

% of Pool Weighted. Weighted Weighted Weighted

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Document Type of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
Full 7 35 107,104044.29 20.50 7246 3140 7B 82.51 82.97 100.00
Reduced 811 373,790,275.32 71.55 7.013 2.994 18 75.09 75.51 0.00
Stated Doc : : 118 41,550, 798.22 195 7081 2.882 74 63.62 6404 0.00
Total: 1,254 522,446,017.83 100.00 7.066 3.014 716 75.70 76.13 20.50

 

  
 

    
     

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principai Principal Gross Gross Average Original Combined % Full
Recast Period : ofLoans -, - Balance . .. Balance Coupon .. Margin FICO LIV LTV Akt Doc
0 oO es Fests a 1B8 83 On 7939 81.26 80.84
60 1,238 514,758,445.83 98.53 7.064 3.009 716 75.64 76.05 19.60
Total: 1,254 522,446,017.83 100.00. 7.066 3.014 716 75.70 1643 20.50

 

           

First Payment Adjus fment (Vionths) of ¢

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
First Payment Adjustment (Months) of Loans Balance Balance Coupon _ Margin FICO LIV LIV Alt Doc
i 2 Se oe 26 7,687.572.00 L47 7239 4302 677 7939 81.26 90.84
12 1,041 447,789,071 .30 85.71 7.024 3.010 N17 75.56 75.94 18.94
60 : 197 66;969,374.53 12.82 7327 3,006 710 16.16 7678 2A4

 

Total: 1,254 —522,446,017.83 100.60 7.066 3.014 716 75.70 76.13 20.50

 

 
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|. DESCRIPTION GF THE GROUP H COLLATERAL |

 
 
 

Deo eee 6 0 ea ||

oS S . . Ses “2 A WA Remaining
Number of Mongage Loans: See ae a S : 15172) Tenm(Months) - 430
Aggregate Principal Balance: Range 359 -
$519,219,961.890Months): 480
Average Principal Balance: . : WA. Seasoning :
: ee : ‘ : $342.67.61 (Months): Q
Range: Range
$38,400.00 - $3,500,000.00(Months): 0-1
Orginal WA. Coupon, : : . : Lash ‘
Range: 1.000% - California
5.900% Concentration: 37.72%
Gross WA, Coupon: : a : a oe & ee 71355% WA. Ondginal LTV. 77.04%
Range: 1.000% - Range: 19.57% -
9.192% 100.00%
Net WA. Coupos: : : . : i Percentage LTV >
. : 6.029% 80% & no ME 0.00%
Gross Margin: W.A. Months to 1
3.635% Roll:
Range: : ' 2070% = Range
: : 4.760%(Months): 1-6
Net Margin: Documentation
2.908% Status:
W.A, Gross Max Rate: : : a (0.096% Bull 16.17%
Range: 7.500% - Other:
12,950% 83.83%
W.A, Net Max Rate: : : 9.370%. Interest Only Loans: 0.36%
Non-Zero W.A. 706

FICO Score:

 
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| DESCRIPTION OF THE GROUP II COLLATERAL |

      

% of Pool Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined  % Full
Amortization Type of Loans Balance Balance Coupon Margin FICO LTV LIV Alt Doc
Interest Only ‘ § 1,891,513,.00 0.36 6A80 3.6733 680 83.44 8635. 0.00
Negative Amortizing 1,512 517,328,448.89 99.64 7.359 3.635 706 77.02 71,23 16.23
Total: :  LSIT  $49,219,961.89 100.00 > 7.355 3.635 7106 77.04 TTT 16.17

Ee ee

 
    
     

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Prepayment Penalty Type ofLoans ___Balance _Balance_ Coupon Margin. _FICQ___LTV_—_LTV___Alt Doc
36100 - HARD ibl? 519,219.961.89 £60.00 7355 3.635 _ 106 7104 Thai 16.17
Total: 1,517 519,219,961.89 100.00 7.355 3.635 706 77.04 77.27 16.17

 

 
 
 
 

  
  

      

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
; Number Principal Principal Gross Gross Average Original Combined % Full
Loan Servicers of Loans Balance Balance Coupon Margin FICO LTV LTV Alt Doc
AHM : ‘ a : LS17 519,219,901.89 100.00 7355< 3.635 106 TLOA 712) 16.17

 

Total: 1517 519,219,961.89 100.00 7.355 3.635 706 77.04 7727 16.17

 

 
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DESCRIPTION OF THE GROUP If COLLATERAL

_|

% of Pool Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Current Principal Balance of Loans Balance _Balance_ Coupon Margin Fico LTV LIV Alt Doc
$50,000.00 of less. 4 176,200.00 0.08 8219 3187 722 16.68 16.68 7230
$50,000.01 - $100,000.00 52 4,371,124.87 0.84 7.129 3.552 713 68.20 68.20 34,29
$100,000.01 = $150,000.00 136 16,761,267 54 3.23 DOA? 3.015 106 F486 714,86 35.28
$150,000.01 - $200,000.00 208 37,233,799.86 717 7391 3,578 709 75.52 75.60 22.45
$200,000.01 - $250,000.00 21] 48,807,763.37 9.40 7.536 3,662 WS 76.5) 7671 22.33
$250,000.01 - $300,000.00 204 56,062,313.30 10.80 7247 3.607 705 7727 7144 20.03
$300,000:01 - $350,000.00. 148 48,062,210.61 9.26 FIG. (3762.0 7106 19.54 19.68 21.75
$350,000.01 - $400,000.00 139 52,539, 194.25 10.12 7459 3.590 702 TIAT T1S3 14.40
$400,000.01 --$450,000.00 LIS 49,444, 13834 > 9.52 7.301 “3eds 20S PAO 18.65 15.74
$450,000.01 - $500,000.00 65 30,955,854.06 5.96 7.092 3,709 733 80.12 80.59 23.26
$500,000.01 - $700,000.00 148 85,094, 989.36 16.50 7A20 3.102 705 78.56 18.96 146
$700,000.01 - $900,000.00 42 33,320,262.00 6.42 7A31 3.435 712 74.56 74.56 6.83
$900,000.01. $1,000,000.00 20 19,595 248.00 3778 6272 3,582. 105 TE SO TS78 0:00
$1,000,000.01 - $1,100,000.00 5 5,200,226.39 1.00 8.020 3.617 | 699 72,96 74.02 20.19
$1,100,000.01 of more 20. 30,995,369.94 597 7338. 3879 100 7195 2B 10.32
Total: 1,517 519,219,961.89 100.00 74.355 3.635 706 77.04 7727 16.17

 

 
   

   

 

 

% of Pool Weighted Weighted Weighted Weighted
oA oe by Average Ayerage Weighted Average Avwrage
Number Principal Principal Gross Gross Average Original Combined % Full
Original Gross Rate of Loans Balance Balance Coupon Margin FICO LTV LIV Alt Doc
G.501% - 1.000% 197 254,095 368.02, SAB 7303 43 oO BBO 74.09 8.00
1.001% - 1.500% 244 B51 711692 14.16 TABI 3.827 713 1637 76.54 30.48
1.501% - 2.000% 330 113,097:625.66 : 2178 7.091 3.801 706 8072, 8072 9.99
2.001% - 2.500% 100 33,170,416.29 6.3 8.031 4.096 RT 87.79 88.15 67.78
2.501% = 3.000%. 20 7841,115.00 ESE 8.354 A307 704 88.05 88.05 ‘0.00
3.001% - 3.500% 21 4,947,720,00 0.95 8.732 4.518 743 97.92 97.92 86.86
3.501% - 4.000% ek 691,000.00 O43 7.663 3.231 686 100.00 100,00 $00.00
5.001% ~- 5.500% 2 937,600.00 0.18 5.500 3.892 740 76.85 83.94 0.00
§501% ~ 6.000% 1 322,000.00 0.06": 5.900 4100 0° 704 64,53 6433 0.00
Total: 1517 519,219,961.89 100.00 7.355 3.635 706 77.04 T1127 16.17
1. DESCRIPTION OF THE GROUP II COLLATERAL

 

 
    

Current Gross Rate

0.501% - 1.000%
1.001% - 1.500%
L 501% - 2.000%
2.001% - 2.500%
ZS01%e~ 3.00070
3.001% - 3.500%
5.001% ~ 5.500%
5.501% - 6.000%
6.501% - 7.00006
7.001% or more
‘Total:

 

  

oe ee er

  

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Avwrage
Number Principal Principal Gross Gross Average Original Combined % Full
of Loans Balance Balance Coupon Margin FICO LTV LTV Alt Doc
4 23,195,982.00 447 1.000 3393. 70 T2A0 7287 5.68
17 8,138,558.97 1.57 1.359 3.894 679 71.64 716A 18.74
58:27 | 20,912,698,00 4.03... L846 3.592 704 18.26 7826 507
10 2,635,650,00 0.51 2.387 4,192 706 90.59 90.59 68.21
ze 24,000.00 °° oe 363s est 6B 0168 065 800.
i 188,000.00 0,04 3.400 4,690 720 100.00 100.00 100.00
2 937,600.00 G18 5.500 3.802 740 16858 83.94 6.00
1 322,000.00 0.06 5.900 4.100 704 64.53 64,53 0.00
16 © FA31,983 00 137 6845.2 2413. 719 F222 7Ie2 77
1,346 455, 133,489.92 87.66 8.090 3.659 707 THA 77.32 16.92
1517  519,219.961.89 100.00 7355 3.635 706 T7104 T7127 16.17

oe ee eae
% of Pool Weighted Weighted

 

Weighted Weighted

 

   
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by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Gross Margin ofLoans Balance —_—Balarice. | Coupon Margin FICO LIV LTV Alt Doc

2.001% 2.250% ce i 260,000.89 0.15 6.502: 2.070 73 604 62.04 0.00

   

 

2.251% - 2.500% * 15 1.16 6.168 2.427 703 79.41 79.89 15.12
2501+ 2.750% 4B 993° 6178 2659 — 720-2 B34 7334 5 14,22
2.751% ~ 3.000% 68 / 21,349,054.36 / 4.11 6.451 2.882 724 74.38 F449 12.66
3.001% - 3.250% : = 146 50,805,992.69 9,79 6540 3161 716 a0 48 10.95
3.251% - 3.500% 365 111,256,736.51 21.43 7.020 3.432 706 74.02 74.13 10.00
3.501% = 3.50% a : _ “AAT 172,369219.09 33.20 7321 3.586. 698 74.50 ATG [QOL
3.751% - 4.000% 193 60,607,674.93 11.67 7.809 3.863 698 T441 75.13 12.93
4.00194 4.250% 87 pedi et 5.3 1564 4145 108 83.86 $3.81 50.66
4.251% - 4.500% ; 72 24,740,753.76 476 7.850 4,383 714 90.07 90.07 32.17
4 501% - 4.750% : 108. 38,220,621.91 136 8653 4 5900 P26 92.75 02.75 33.15
4.751% - 5.000% 2 1,139,400.00 0.22 9.192 4.760 680 90.00 90.00 0.00
Total: : 4517 _$19:219,961.89 100.00 7.355 3635 706 77.04 77.27 16.17
[_ DESCRIPTION OF THE GROUP If COLLATERAL ]

 

         

eee ce eet ie seg cgs rc

Weighted Weighted

 

% of Pool Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Remaining Months to Maturity of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
356.- 360: 686 218,346,829 34 42.05 TAD 3.526 Wo T3716. 75.94 15.97
361 or more 831 300,873, 132.55 57.95 7486 3.714 704 71.97 78.23 16.31
‘Total ee 1517  519.219,961.89 100.00 7.355 3.635 706 7704 V127 16.17

 

        

 

  

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal © Principal Gross Gross Average Original Combined % Full
Seasoning of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
0 : co 1469 “502,507, 113.40 96.78 7327 3,630 106 76,98 Tk 15.78
1-6 48 16,712,848.49 3.22 8.204 3.772 707 78.91 78.91 27.82
‘Total : : — LST © 519,219,961 .89 100,00 7355 3.635. 706 TTOA FI2T AGAT
ep Sie ee EE Ee ee

 

   
     

De ce re eee

   

Weighted Weighted

 

 

 

% of Pool Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Months to Roll of Loans Balance Balance Coupon Margin FICO LTV LTV Alt Doc
1 : i5l4 517,960, 361.89 90.76 7.360 3.634 106 7705 FTG 16.21
6 : 3 1,259,600.00 0.24 5.602 3.945 73 73.70 78.98 0.00
Total: : ee 41,517) 519,219,961.89 100.00 7.355 3635 706 T7104 W127 16.17
| DESCRIPTION OF THE GROUP II COLLATERAL |

 

       

foe eM Nr ee :
% of Pool Weighted Weighted Weighted

Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Grass Average Original Combined % Full
Gross Liteame IViaximum Rate of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
7TOOL% = 7.500% : eek 900:000.00, O17 R82 3450 6/0 7.00 257,00 0.00:
9.501% - 10.000% 1,038 372,849,415.67 71.81 FANT 3.444 703 74.00 7431 10.30
10.001%- 10500% 2 CC 11.82
10.501% - 11.000% 277 93,379,341 .67 17,98 8.080 4.319 TW 91.40 91.40 42,02
(2001I%ormore oe ee 48540000 000-2707, 8S 650 R58 1858 ANB2
Total: 1,517 519,219,961.89 100.00 7.355 3.635 706 77.04 T7127 16.17

 

 

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% of Poot Weighted Weighted Weighted Weighted Weighted

 

 

Number Principal by Average Average Average Average Average % Full

Rate Adjustment Frequency of Loans Balatice Principal Gross Gross FICO Original Combined — Alt Doc
ce : 7 is sig2o6i.y PARE Eo Comps aes ag oe 8
Total: 4.507 §19,270;86189 100.00 7.385 3.635 706 77.04 T7127 16.17

 

    

Payinent ee ne ee on
% of Pool Weighted Weighted

 

Weighted Weighted

 

 

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined = % Full
Payment Adjustment Frequency of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
Lo 8 / : o 5 891,513.00 0.36- 6.480 3.673 680 $3.44 86.35 0.00
12 1,512 517,328,448.89 99.64 7.359 3.635 706 77.02 77.23 16,23
‘Total: : : 1517 519,219,961,89 100.00 7355 3.635 : 7106 7704 7727. IGAT
{ DESCRIPTION OF THE GROUP II COLLATERAL |

 

 
      

oer pt Uy oer ele

% of Pool Weighted Weighted Weighted Weighted

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Maximum Balance Amount of Loans Balance Balance _ Coupon Margin Fico LTV LTV Alt Doc
0 : 5 1 gersi3o0. 036. 6.480 363 ok $635. 0.00
110 392 128,583,778.94 24.76 7.212 3.723 709 80.90 80.99 33.88
125 : : 1120 388, 744,669.95 ASI 7A07 © 3.605 is BE 75.99 1039
Total: 1,517 —519,219,961.89 100.00 7.355 3.635 706 77.04 77.27 16.17

 
 
   
     

ee ee eee :
. " % of Pool Weighted Weighted Weighted
: by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined = % Full

Weighted

 

 

Periodic Payment Cap of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
0 : 8 L91513.00 036 6.480 3.673 680 B44 86.35 0.00
75 1,512 __ 517,328,448.89 99.64 7.359 3.635 706 71.02 71.3 16.23
Total: 1517  319,219;00189 100.00 7.355 3635 706 1704 7727 1617

  
  

     
   

Weighted

 

 

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Original LTV of Loans Balance Balance Coupon Margin HCO LIV LIV Alt Doc
$0.00% or less | . ee Te 18,885,128.81 304 T2A5 3Aol TB 42.92 02 6.23
50.01% - 55.00% 32 9,340,645.49 1.80 7214 3.460 NT 52.65 52.95 5.56
55,01% - 60.00% a 40 9168.49.00 188 1278 3547 88.00 58.33 581
60.01% - 65.00% : 66 31,904,412.95 6.14 7.167 3.567 708 63.51 63.51 1.73
BO T000% jel 420911299 B19 7.055 3469 - Tl 68.66 68.95) 6.16
70.01% - 75.00% 328 110,743,623.15 21.33 7.359 3.545 690 74.25 74.57 3.17
75.01% -~ 80.00% 48 173,659, 108.42 3345 081. 3.486 FAO: 7943 F799 1441
80.01% ~- 85.00% 24 6,994,410.12 1.35 8.085 4.125 714 83.74 83.74 29.66
85.01% - 90.00% : aS = 243 83,267,752 50 16.04 TBS AOS FY 89.43 89.43 19.84
90.01% - 95.00% 48 13,350,833.17 2.57 7.889 3.843 705 94.57 94.57 94.30
95.01% = 100.00%- 0. 18,795,842.29 3.62 8.403 AAG? TAL 09.87 99.87 100.00
Total: 1,517 519,219,961.89 100.00 7.355 3.635 706 77.04 77.27 16.17
| DESCRIPTION OF THE GROUP If COLLATERAL |

 

  
     

     

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal! Gross Gross Average Original Combined % Full
Geographical Distribution __ of Loans Balance Balance Coupon Margin FICO LTV LTV Alt Doc

Califomia : ale f95,861,78708 BED 71299 3.04] 12 7486 518 8.72

 
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Florida 423 130,522,053.48 25,14 7.504 3.655 107 78.53 78.61 19.82
Virginia oe 32.231,826.38 62h =) 6983 3.608 (13 Bll 821 1962
Maryland 58 19,705,405.23 3.80 6.692 3.436 714 74,32 4B 16.31
Arizona 58 IR ASR GCOS 3.55 160 370 RB 7913 i140
Other 418 __122,446,829.04 33.58 7450 3.631 709 78.59 78.80 23.98
‘Total: - £517 519,219,96189 100.00 7355 3.635 706 7704 W217 16.47

 
    

    

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
California Loan Breakdown of Loans Balance Balance — Coupon Margin HCO LTV LIV Alt Doc
Norihem CA se 105,520,551.41 20.32, 7461. 3.678 a 14 75.82 76,34 6.88
Southern CA 218 90,34 1,235.62 17.40 7.110 3.598 699 B62 73.82 10.87
State not CA 1045 323;358, 174.86 62,28 7389 3.63] 26 7109 W837. B53 20.68
Total: 1,517 519,219,961.89 100.00 7.355 3.635 706 77.04 77.27 16.17
[_ DESCRIPTION OF THE GROUP I COLLATERAL ]

 

  

 

Dee see ee
% of Pool Weighted

     
 

  

   

 

  

Weighted Weighted Weighted

by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Top 10 Zip Codes of Loans Balance Balance —_ Coupon Margin Fico LIV LTV Alt Doc
34746 pe 6,257,200 1a 6.648 A216 Tao 86.6) 86.61 9.19
92660 1 3,500,000.00 0.67 7.957 3.525 801 64.81 64.81 0,00
34930 i 3250,000.00 0.68 8.357. 3925 pe 65.00 65.00 0.00
33411 7 2,652,086.56 0.51 7.854 3.444 743 78.18 783.18 16.39
33064 3} -2,562,250.00. 049 8232 3.800 13 T3201 PDO] Bal
33414 4 2,508,700.00 0.48 8.205 3.7B 713 7753 78.79 31.32
92502 a4 2436585.94 O47 5104 SAIS 684 AAS TLIS iL2o
92021 3 2,230,000.00 0.43 7.786 3.354 694 79.08 84.37 59.10
94565 6 2110,350.00 04 8.021 3580. 680 T108 TI OR 0.00
94591 5 2,090,500.00 ——-_:0.40 7.825 3.393 7Al 72.29 72.29 0.00
Other’ : 1,460 A890 G21, 7/69 39 94 30 ii) 3.629 105 Tit T7382 16.07
Total: 1517 —519,219,961.89 100.00 7.355 3.635 706 77.04 TI2ZT 16.17

 

  
 
 

  
      

Weighted.

 

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
FICO Scores of Loans Balance Balance — Coupon Margin FICO LTV LTV Alt Doc
600 or less. or not available 1 163,413.00 0.03 7A02 2,910 0 86,00 80,00 0,00
601 - 620 6 1,417,900.00 0.27 8.041 3.609 618 75.70 75.70 28.40
621 - 640. 88 25,704,218.36 = 496 7782. 36ll0 0 Gl | 7294 TAG. 25.85
641 - 660 162 55,245,959.96 10.64 6.606 3.549 650 71,52 71.68 12.78
661 - 680 260 97.318 81242 1874 TUS 3.625 670 7140 WB 596
681 - 700 236 78,504,608.22 15.12 7.396 3.667 690 79.02 79.26 15.56
710) - 720. 220 73,008,073.53 1407 7,500 BAT 70 80.21 80.52 21.26.
721 - 740 164 59,272,291 .65 11.42 7.547 3.617 7B 77.30 77.50 14.05
TAL 7600. : 38200 44,883,91427 8.64 7.96 3.673 750 73.34 7BO51 23.29
761 greater than or equal to 248 83,580,770.48 16.10 7.293 3.577 780 76.06 76.16 20.91
‘Total: 1517 $19,219,961 89. 100.00 7.355 3.635 706 77.04 T127 16.17

 

   

PUD.

Mortgage Properties

     

% of Pool Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full

293 141,813,99041 3153 7514 365 07 78.09 1638

of Loans Balance Balance | Coupon Margin FICO LTV LIV Alt Doc

 
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Th 83.23 83.35

 

 

 

Condominium 198 51,586,497.01 9.93 7.732 3.756 32.56
Coop : : 1. 750,006.00 O14 7232 2.800 168 62.50. 62,50 0.00
Single Family 966 336,862,605.39 64.82 7222 3.609 703 76.15 76.38 13.30
Two- to Four Family : : \ 59 TR SIG660. 08 337. BA 3.737 703 TB 7213 22.18
Total: 1,517 §19,219,961.89 100.00 7.355 3.635 706 77.04 77.27 16.17

 

      

Oeeupancy Types pa Ne Loans

     

% ofPock Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Occupancy Types of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
Investor : 201 §2,021,024.55 10.02 14 3S 73.05 Bo 1219
Primary 1,242 443,902,620.82 85.49 7.267 3.607 704 7718 7743 16.65
Secondary. o Fd 33396316 52 as. 807-388 DA ee re 15.82
Total: 1,517 519,219,961.89 100.00 74355 3.635 706 77.04 T7127 16.17

 

    
   

    
   

  

 

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined = % Full
Loan Purpose of Loans Balance Balance Coupon Margin FICO LTV LTV Alt Doc
Purchase 320 110,289,252.90. 2124 7853 3917). DO 86.78 8694 29.18
Refinance - Rate Term 290 104,204,345.50 20.07 7548 3.776 700 82.02 82.71 20.67
Refinance - Cashout 907 304,726,363 49 58.69 FAD 3.484 ‘103 ee 71.90 992
Total: 1,517 519,219,961.89 100.00 7.355 3.635 706 77.04 7727 16.17
1 DESCRIPTION OF THE GROUP II COLLATERAL |

 

   
   

ce . Document Type of the Mortgage (Sa

   

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined = % Full

Document Type of Loans Balance + Balance Coupon. Margin FICO LIV LIV Alt Doc
Full | es : : 307 $3.94 1,602.65 “lod7 TIA 3.839 m4 86.78 87.02 100.00
Reduced 913 348,421,053.42 67.10 7.252 3.606 708 77.20 TIAT 0.00
Stated Doc. oe a 207 86,857.215.82 16,73. 7385. 3553 _ 689 670l 6704 0.00
Total: 1,517 _519,219,961.89 100.60 7355 3.635 706 77.04 T127 16.17

 

            

% of Pool Weighted Weighted Weighted Weighted
Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined = % Full

Recast Period of Loans Balance Balance Coupon Margin HCO LTV LIV Alt Doc
Q ee : : 5 1,801,513.00 0.36 6480. 363 680. 83.44 86.35. 6.00
60 1,512 517,328,448.89 99.64 7.359 3.635 706 77.02 77.23 16.23
Total: / 1517 - 519,219,961.89 100.00 2355 3.635 706 T104 F127 16,17

   
   

/ peerrit e : : .
% of Pool Weighted Weighted Weighted Weighted
Average Average Weighted Average Average

 

 

Number Principal Principal Gross Gross Average Original Combined = % Full

First Payment Adjustment (Months) —_ of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
rE oe Oe ee 1.901 51266 O36. 6480 3.673 680. 83.44 86:35 0.00
12 1,246 432,013,966.42 83.20 7.325 3.636 706 76.71 76.93 14.04
60 : o : 206 85,314.482.47 te 1528 3.620 708 78.6) TBS 21,30

 

Total: 4,517 519,219,961.89 100.00 7.355 3.635 706 77.04 TV27 16.17

 

 
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| DESCRIPTION OF THE GROUP II COLLATERAL |

  
   

Nuinber of Mortgage Loans:
Aggregate Principal Balance:
Average Principal Balance:

Range:

Orginal W A. Coupon:
Range:

Gross W.A, Coupon:
Range:

Net W.A, Coupon:
Gross Margin:

Range:
Net Margin: ,

W.A. Gross Max Rate:
Range:

W.A: Net Max Rate:

 

A Remaining
T4 Lenn(Months).... 420
$ Range 356 -
335,416,513.83(Months): 480
W.A. Seasoning
$433,354.67. (Manths): 0
Range
$40,000.00 - $2,555,000.000Months): 0-4
EAGT
1.000% - California
8.140% Concentration: 38.51%
7.065% WA. Orginal LIV. 76.24%
1.000% - Range: 21.84% -
9.192% 100.00%
Percentage LEV >
6.338% 80% & no MI: 0.00%
W.A. Months to 1
2.882% Roll:
204. ‘Range
4.7608 o( Months }: ede DD
Documentation
2.155% Status:
 AO407% 2 Full © IBS0%
7.500% - Other:
10.550% 81.50%
10:107% Interest Only loans: 147%
Non-Zero W.A. 716

FICO Score:

 

 
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| DESCRIPTION OF THE GROUP Ili COLLATERAL |

  
  

Ainoriization Type 7

     
   

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Amortization Type of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
Interest Only : ee oe 13 4.919.200 00 147 6.35 3.029..5 a4 TASS 78.93" 35.44
Negative Amortizing 761 330,497,313.83 98.53 7.076 2.88 716 76.26 76.77 18.25
Total: 474 335,416,513.83 100,00 7065. 2.382 — 716 76.24 76.80 18.56

 

  
 

      

% of Pool Weighted Weighted Weighted Weighted
Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined = % Full

Prepayment Penalty Type of Loans Balance Balance Coupon _ Margin FICO LTV LTV Alt Doc
No Prepay : 714 335,416.513.83 100.00 71.065 2.882 U6 716.24 76,80 18.50
Total: 774 —335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 

  
   
 

Deon neces arr is obn

  

    

Weighted

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Loan Servicers of Loans Balance Balance — Coupon Margin HCO LTV LTV Alt Doc
AHM : : : TTA. 335 416.513.83 100.00 7.065 2882 116 7624 76.80 18.50

a Se a eee ——————E—E————__ee

Total: 774 —335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 

 
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| DESCRIPTION OF THE GROUP I COLLATERAL |

 

% of Pool Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Current Principal Balance of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
$50,000.00 or less = oC 4 17822500 0.05 TO1S 3.183 746 BI 89 81.89 48.03
$50,000.01 - $100,000.00 il 891,297.51 0.27 7467 3.035 719 72.46 72.46 65.52
$100,000.01 - $150,000.00 4 5,628,250.50 1.68. 6.069 2.923 7 TB 183 45.71
$150,000.01 - $200,000.00 78 14,040,647.39 4.19 6.987 2.86 722 76.27 76.53 32.43
$200,000.01 $250,000 00 OR 22 345,813.07 666 1157 2.966 ee 782] TBAS 34.69
$250,000.01 - $300,000.00 04 26,202,293.83 781 7077 2.85 713 71.69 78.10 24.63
$300,000.61 - $350,000.00 76 an 500.2 137 7218 2068 Hl oF oa BS
$350,000.01 - $400,000.00 63 23,871,312.94 7,12 7.059 2.995 723 79.62 79.62 20.27
$400,000.01 - $4505600.00 : oo 25, 724,040.21 je g0so= 112 79.20 79.45 DAS)
$450,000.01 ~ $500,000.00 52 24,846,690.00 7Al 6.843 2.929 714 79.66 80.49 13.14
$500,000.01 -$7005000.00 tee 62,674,303.05 18.69 7AM 2918 718 Ww Ay 12.69
$700,000.01 - $900,000.00 23 18,470,930.53 551 7.07 2.807 732 78.18 78.66 21.64
$900,000.04 = $1,000,000.00 20 19,417,300.90 = 4,79 7168 276 na 76.85 76.85 502
$1,000,000.01 - $1,100,000.00 7 7,456,750.00 2.22 6.965 2.533 743 61.27 61.27 0.00
$1;100,000.01 or more 38 58,930,008.48 1787. 6977 2.805 706 67.92 69.48 8.06
Total: 714 —335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 

 

 

 

 

% of Pool Weighted Weighted Weighted Weighted
: by ~ Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Original Gross Rate of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
0.501% = 1:000% 3S leliezemo2 — as.08 6116. 2636 78 Be el 1264
1.601% - 1.500% . 198 81,732,591.43 © 24,37 7433 3.047 AT 73.69 74.20 21.61
1.501% - 2.000%. : ae “156 59,592-216.50 L.7/ JAW 3.148 TO. 80.81 SLE. LiS7
2.001% - 2.500% 60 18,363,732.07 5.47 752 3.247 730 87.27 87.27 68.57
2.501% - 3.000% 24 | 10,621,594,01 = 3i7 7,093 3213 701 83.93 85.59 0.00
3,001% - 3.500% 3 595,608.00 0.18 8.148 3.716 753 100.00 100.00 100.00
4.501% - 5.000% 2 106875000 632 495 2 2957 PO 6 38 BOE. 0.00
5.001% - 5.500% 1 741,600.00 0.22 3.5 2.85 680 80.00 80.00 0.00
5,501% = 6.000%. 1 ATD,000.00 O14 5.95 27. 648 0934 cee 0984 000
6.001% - 6.500% 2 733,000.00 0.22 6.5 2.68 740 70.46 70.46 0.00
7.001% of more : : : : Does 374,790.00 OL 8.052 4012 760 100.00 10000: 100.00
Total: 774 —335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50
L DESCRIPTION OF THE GROUP II COLLATERAL |

 

‘Current Gross Rate of the Mortgave Loans :
% of Pool Weighted Weighted Weighted Weighted

  

 

 

by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Current Gross Rate of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
0.501% = 1.000% 2h 9247-67000 276 1 27 Al 13.63 Be $44
1.001% - 1.500% 3 609,000.00. 0.18 1.436 3.255 604 86.61 86.61 100.00
ESOL6'".2.000%%. 9 1,025,000.00. O46 AIBA BAAS 003- 80.00: 80.06 0,00
2.001% - 2.500% 2 527,050.00 0.16 2.424 3.521 690 89.71 89.71 62.01
2.501% 3.000%. 2 1L,003,500;00. 0.30. 2.025 3.934 685 90.00 90.00 0.00:
4.501% - 5.000% 2 1,063,750.00 0.32 4.95 2.757 750 73.63 73.63 0.00
§,001% = 5.500% 1 741,600.00 0.22 55 285 680 80.00 80.00 0.00
5.501% - 6.000% 1 475,000.00 0.14 5.95 27 648 69.34 69.34 0.00
6.001% - 6.500% 2 © 133,000.00 0.22 65 2:68 7140 70.46 TAG 0.00
6.501% -7.000% ; 101 45,313,237.42 13.51 6.855 2423 714 73.05 73.65 15.38
TOO“ ormore 2 O83 PAOTL 20041 BET 139. 2.958 Nl 6 738 1957

Total: 774 335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 
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RU accra us
°% of Pool Weighted Weighted Weighted Weighted
Average Average Weighted Average Average

   

Number Principal Principal Gross Gross Average Original Combined % Full

Gross Margin of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
200% -2250% a 2,993, 246.06 0.89 $949 2182 FOL 58.41 5841 40.46
2.251% - 2.500% 90 41,314,871.42 12.32 6.699 2.43 TT 74.13 74.80 11.93
2.501% = 2.150% : 281 130;530,820 91 38,92 6823 2 2.055 Ig 7435 1453 B21
2.751% - 3.000% 157 68,528,371.60 20.43 7.024 2.896 710 73.31 7421 18.20
3.001% - 3.250% : a : 87 32, 174,313.00 9.59. 7526 3.129 T24 14,38 D8 23.91
3.251% - 3.500% 61 26,329,037.91 7.85 74599 3.363 712 81.44 82.48 34.79
3.501% - 3.75076 : eo OS 22,610,229-99 674 1.858 3.047 To 90.31 90.39 21.87
3.751% = 4.000% 21 9,318,784.00 2.78 8.069 3.846 723 94.08 94,08 42.70
AOOI% 4.250% : : 2 389,849 00 052 8282 4078 702. 9423 = 04.23 42.29:
4.251% - 4.500% 1 387,000.00 0.12 2.525 445 679 90.00 90.00 0.00
A501% + 4.750% : 1 263,008.00 0.08 9122 4.69 Te £00.00 100.00 100,00
4.751% - 5.000% 1 577,000.00 0.17 9.192 4.76 660 88.77 88,77 0.00

Total: 974 335,406,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

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C DESCRIPTION OF THE GROUP Ml COLLATERAL |

 
      

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% of Pool Weighted Weighted Weighted Weighted
8

 

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
of Loans Balance Balance Coupon Margin Fico LTV LTV Alt Doc
Remaining Months to Maturity
356 - 360 377 166,259,223.44 49.57 7.064 2.834 714 T4A9 74.96 17.32
361 or more 397 169, 157,290.39 50.43 7.067 2.93 719 78.25 78.61 19.66
Total: 774 = 335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 

    

 
    

Rudi tee

     

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Seasoning of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
0 758 329,060,092.58 98.10 7.062 2.884 NT 76.25 76.82 18.32
1-6 16 6,356,421.25 1.90 7.252 2.82 693 75.10 75.70 27.83
Total: 774 —335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 

   

  

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% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Months to Roll of Loans Balance Balance Coupon Margin FICO LTV LIV Alt Doc
1 : : ' S : 166. © 332,028.413.83.. 98.99 1007 2.882 6 16.23 716.80 18.58
3 2 684,900.00 0.20 6.621 3.095 680 78.74 78.74 30.65
6 2 ue S 4 1,639,450.00 049. 6.192 2R0A ee TG. FAS THIS 10:06
12 . 2 - 1,063,750.00 0.32 4.95 2.757 750 73.63 73.63 0.00
‘Total: - : P74 335.416.813.838 100.00 71.065 2.882 716 16.24 76.80 18.50
{ DESCRIPTION OF THE GROUP II COLLATERAL |

 

  

 
   

Gross Litfeiine Maximum Rate of the Morigage Loans

   

 

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Gross Lifetime Maximum Rate of Loan Balance Balance Coupon Margin FICO LTV LTV Alt Doc
TOO\%e - 7.500% : 2 319,700.00 0.10 738 293 680: 82.69 82.69 26:86
9.501% - 10,000% 437 226,405,712.56 67.50 6.82 2.681 Th4 73.18 73.96 13.39
10,.001% - 10,500% , “195 $9,652,549:37 17.78 VAST 3.06 DA 1535 75,53 2071
10.505% = 11.000% 140 49,038,551.90 14.62 7.721 3.594 WT 9141 91.41 39,35
Total: : 774 335,416,513.83 100.00 7.065 2.882 716 76.24 76:80 18.50

   
       

Weighted

% of Pool Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Rate Adjustment Frequency of Loans Balance Balance Coupon Margin Fico LIV LTV Alt Doc
t : : ee TIA | 535416. 513.93 100-00 7.065 2.889 6 1624 76.80 18.50
Total: 774 — 335,416,513.83 1060.00 7.065 2.882 716 76.24 76.80 18.50

 

   
        

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Payment Adjustment Frequency of Loans Balance Balance Coupon Margin FICO LTV LIV Alt Doc
1 Eee . 43 _4919.200.00 LAT. 6.35 3029 v4 TASS 1893. 3544

12 : 761 330,497,313.83 98.53 7.076 2.88 716 76.26 76.77 18.25

 
Case 1:18-cv- -00427- JJM-LDA Document 41-13 Filed 07/15/19 wehbe 46 of 48 PagelD #, 993
Total: : : : 774 335,416,513,83.- 190.00 7.065 2,882 16.24. 76.80 18.50

 

 

 

| DESCRIPTION OF THE GROUP Ii COLLATERAL |

 
  

re
% of Pool Weighted Weighted

 

  

Weighted Weighted

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Maximum Balance Amount of Loans Balance Balance Coupon Margin FICO LIV LIV Alt Doc
a See o ' B 4919. 200.00. AAD 635 3,029 4 TASS 93 35.44
110 195 77,690,203.62. 23.16 7.193 2.967 715 78.94 79.69 33.15
125 566 (252,807,110.21 P37 7.04 | 2.853 al De A ee 13.67
Total: 774 — 335,416,513.83 160.00 7.065 2.882 716 76.24 76.80 18.50

 

 
  

eo eee (el ae eC ee eo
% of Pool Weighted Weighted

 

  

Weighted Weighted

 

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Periodic Payment Cap of Loans Balance Balance — Coupon Margin FCO LIV LTV _Alt Doc _
0 3 4.919.200.00 L4y 6.35 3,029 74 FASS 18.93 3544
75 761 330,497,313.83 98.53 7.076 2.88 | 716 76.26 76.77 18.25
‘Total: : TIA 335,416,513.83 106.00 7.065 2.882 116 7624 76.80 1850

  
  

     
   

Weighted Weighted

 

 

% of Pool Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Original LTV of Loans Balance Balance Coupon Margin FICO LTV LTV Alt Doc
50.00% of less 22 41,123,000,00 332. DIB 2alk B4 AOAT Al.83 601
50.01% = 55.00% 9 3,142,000.00 0.94 7.045 2.613 747 52.40 52.40 20.11
55.01% + 60.00% | : : 25 190007839. 355 6.153 2.103 TS S167 58.65 10,69
60.01% - 65.00% : oe 30 19,271,882.00 . « 5.75 * 7,079 2.737 698 63.05 63.05 6.11
65.01% - 70.00% Be : so 33,601,621.14 1004... 64598. 24 705 68.58 69.81 7SS
70.01% ~ 75.00% 140 66,038, 142.17 19.69 7.062 2.848 712 74.14 74.57 647
75.01% - 80-00%. : : 316 130,511,335.73 38.91 6.994 2.755 21 79.67 80.37 2072
80.01% - 85.00% 7 2,533,750.00 0.76 5.888 3.393 703 83.43 83.43 0.00
85.01% - 90.00% oe 13 40.915 QI6AL 12.20 1558 3425 aA 89.41 Bo.4t 19.37
90.01% - 95.00% 25 8,960,782.00 2.67 7.561 3.129 712 94.78 94.78 88.13
95.01% - 100.00% : 28 731971099 _ 218 7a41 3787 15 99.94 o9e4 100.00
Total: 774 — 335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50
| DESCRIPTION OF THE GROUP DT COLLATERAL _|

 

 
   

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% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Geographical Distribution of Loans Balance Balance’ Coupon Margin FICO LIV LTV Alt Doc
Calfomia 243 120,156,442. 95° 3851 1.02 A847 TS ISAT 75.52 1046
Florida 98 39,218, 187.39 11.69 6.958 2.814 718 7645 76.45 17.87
NewdJersey. : i : SO. © 22,081,006.00 6.87 7L02 2.916 7100 16.82 ATID 19.48
Mlinois ee — 57 __20,858,305.00 6.22 7.038 2.818 TU 7185 79.21 16.83
Anwona : eso 19:843,008.00 $92 F182 2.995. 703 7543 = 16.56 30:65
Other 276 103,289,564.49 30.79 7.166 2.95 713 77.20 T7388 26.58
Totaly. : TT4 335,416513.83 100.00 7,065 2.882 716 716,24 76,80 18.50

 

  

  

      

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined  % Full
California Loan Breakdown of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc

Nonhean CX 7 [Gen Bi eR se RB

 
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Southem CA 94 52,637,996.65 15.609 7. 1%6 2.828 TI 75.09 75.40 17.15
State notin CA & — S3L 206.260.0708 6149 7,094 2904 Tl 708) 7160 2353
Total: 774 335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50
[_ DESCRIPTION OF THE GROUP II COLLATERAL ]

 

ore are Ort ee eee '

% of Pool Weighted Weighted Weighted Weighted

 

 

 

by Average Average Weighted Average Average

Number Principal Principal Gross Gross Average Original Combined % Full

Top 10 Zip Codes of Loans ___Balance Balance — Coupon Margin LIV Alt Doc
11968 - . |. 475,000 : _ STOR 0.00
08402 2 2,860,000.00 0.85 73.96 | 0.00
94558 3 27B000 OR — pa 00
60025 2 2,557,600.00, 0.76 86.88 0.00
10507 3 2sssonn 76 7000 0.00
95003 4 __2,428,400.00 0.72 80.97 0.00
97702 eC, A , . 79.29 2A93
94568 4 2,323,170,00_ 0.69 4.118 2.872 736 78.88 78.88 _ 0.00
60062: a : 2240,000.00 0.67 ee 7032 2.600 105 6.2 6312 0.00
92679 1 2,130,000.00 0.64 7.832 3.400 703 71 AS TIAS 100.00
Other : TAL 309,018 593.83 903 70710 2.884 qd 166) JLB 19.20
Total: 774 —335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 

 

 

 

  

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% of Pool Weighted Weighted

 

 

Weighted Weighted

  

 

 

 

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
of Loans Balance Margin
00-orless ornot available = welooe 3570 |
601 - 620 5 2,189, 192.00 _ 2.954
2 : TAOS 2p
641 - 660 58 27, 749,654.30 2.803
ee “joo g9.g09278 22 184 |
681 - 700 125 58,754,940.68 2.931
Wl 0. DS sSlodidgoo 298
721-740 84 —_-36,591,990.94
WAL 160 80 41,898, 190.89
761 greater than | or equal to 177 66,311, 604.66
Total: “F14 _335416513.83 100.00
| DESCRIPTION OF THE GROUP Tl COLLATERAL |

 

Mortgage Properties:of the Mortuage Loans
% of Pool Weighted Weighted

Weighted Weighted

      

 

 

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Mortgage Properties of Loans Balance Balance Coupon Margin
- -Slezease2l 2440 Ti R95

Condominium 87 29,113,108.85 8.68 6.999 2.906
Coop ee SS ee 71.059 2027 6A 8626 820 100.00
Single Famity sos enum rsunanesneanponsonneorsvenensnecse $0 205.293.207.35 61,21 DOU 2865 TE. 75.38 75.96 16.05
Two-toFourFamily = 46 1870148740 SSR tT 710 B60 22.94
Total: 774 335,416,513.83 100.00 7.065 716 76.24 76.80 18.50

 

 

Occupancy Types of the Mortgage Loans

% of Pool Weighted Weighted Weighted Weighted

by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Occupancy Types of Loans Balance Balance Coupon

OOO22SII3T RO ase

 

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Primary 506 -243,487,414.03 7.59 6.954 2.840 13 76.20 16.19 18.25
Sconday oor TAS 2895 DIB To 16.06
Total: 774 = 335,416,513.83 100.00 7465 2.882 716 76.24 76.80 18.56

 

        

 

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full

 

 

Loan Purpose of Loans Balance Balance Coupon Margin Fico LTV LIV Alt Doc
pee 7p GaawA | Sk TB 808 OB BO BE 2788
Refinance - Rate Term 4 —«57515,879.28 —«d17.S,—s—(—7.029— 3.009 705 7815 79.35 14.00
Refinance - Cashout sgn 681036 AR BO 0 AIS 13.78
Total: 774 335,416,513.83 100.00 7.065 _2.882 16 76.24 76.80 ~———*18.50
c DESCRIPTION OF THE GROUP II COLLATERAL ]

 

  
  

Drone ag eR hae el
% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average

 
 

 

Number Principal Principal Gross Gross Average Original Combined % Full

Document Type of Loans Balance Balance —_ Coupon Margin FICO LIV LTV Alt Doc
Ful SS To enss07305 1850 (is 7200=”:—i2 HR TR BT $335 100.00
Reduced 525 —-252,044,756.95 75.14 7.044 —-2.862 17 75.69 76.22 0.00
ee 69 887 ibs
Total: 7714 335,416,513.83 100.00 7.065 2.882 716 76.24 76.80 18.50

 

  
      

      
     

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full
Recast Period of Loans Balance Balance Coupon Margin HCO LIV LIV Alt Doc
FE oe (ia 630 ge a 1458 7893 354
98.53 7.076 2.880 716 76.26 16.77 18.25
100,00 7.065 2.882 716 76.24 76.80 18.50

 

 
  

       
   

% of Pool Weighted Weighted Weighted Weighted
by Average Average Weighted Average Average
Number Principal Principal Gross Gross Average Original Combined % Full

 
   

 

First Payment Adjustment (Months) of Loans Balance Balance Coupon Margin FICO LIV LTV Alt Doc
12 ; ‘ 280, 9,004.42. 83.55 7.075 2.889 NI 16.98
co in soessog4 0 2532
Total: 774 =335,416,513.83 100.00 7.065 2.882 716 18.50

 

 

 
